                     UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION

COUNTY OF TARRANT,

                       Plaintiff,

vs.

PURDUE PHARMA L.P.;
PURDUE PHARMA INC.;
THE PURDUE FREDERICK COMPANY;
JOHNSON & JOHNSON;                        Civil Action No. 3:18-cv-00518
JANSSEN PHARMACEUTICALS, INC.;
ORTHO-MCNEIL-JANSSEN
PHARMACEUTICALS, INC. n/k/a JANSSEN       COMPLAINT AND JURY DEMAND
PHARMACEUTICALS, INC.;
JANSSEN PHARMACEUTICA, INC. n/k/a
JANSSEN PHARMACEUTICALS, INC.;
ENDO HEALTH SOLUTIONS INC.;
ENDO PHARMACEUTICALS, INC.;
ABBVIE INC.;
KNOLL PHARMACEUTICAL COMPANY, a
wholly-owned subsidiary of ABBVIE INC.;
ALLERGAN PLC f/k/a ACTAVIS PLC;
ALLERGAN FINANCE LLC f/k/a ACTAVIS,
INC. f/k/a WATSON PHARMACEUTICALS,
INC.;
WATSON LABORATORIES, INC.;
ACTAVIS LLC;
ACTAVIS PHARMA, INC. f/k/a WATSON
PHARMA, INC.;
MCKESSON CORPORATION;
CARDINAL HEALTH, INC.;
AMERISOURCEBERGEN CORPORATION;
and
DOES 1 – 100, INCLUSIVE,

                       Defendants.
               PLAINTIFF’S ORIGINAL COMPLAINT AND JURY DEMAND

        Plaintiff, the County of Tarrant, Texas, by and through the undersigned attorneys,

(hereinafter “Tarrant County” or “County”) against Defendants Purdue Pharma L.P., Purdue

Pharma Inc., The Purdue Frederick Company, Johnson & Johnson, Janssen Pharmaceuticals,

Inc., Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen

Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc., Endo Health Solutions Inc., Endo

Pharmaceuticals, Inc., Abbvie Inc., Knoll Pharmaceutical Company, a wholly-owned subsidiary

of Abbvie Inc., Allergan PLC f/k/a Actavis PLC, Allergan Finance, LLC f/k/a Actavis, Inc. f/k/a

Watson Pharmaceuticals, Inc., Watson Laboratories, Inc., Actavis LLC, Actavis Pharma, Inc.

f/k/a Watson Pharma, Inc., McKesson Corporation, Cardinal Health, Inc., AmerisourceBergen

Corporation, and Does 1 – 100, alleges as follows:

                                         I.        INTRODUCTION

        1.       The United States is in the midst of an opioid epidemic caused by Defendants’

fraudulent marketing and sales of prescription opioids (“opioids”) that has resulted in addiction,

criminal activity, and loss of life. The opioid crisis has been described as “the AIDS epidemic of

our generation, but even worse.” 1 On October 26, 2017, President Donald Trump “declared a

nationwide public health emergency to combat the opioid crisis.” 2

        2.       In 2016 alone, health care providers wrote more than 289 million prescriptions for

opioids, enough for every adult in the United States to have more than one bottle of pills. 3

Americans “consume 85% of all the opioids in the world” and are “the most medicated country


1
         David Wright, “Christie on Opioids: “This is the AIDS Epidemic of Our Generation, but even Worse,”
(Oct. 27, 2017), http://www.cnn.com/2017/10/27/politics/chris-christie-opioid-commission-aids-cnntv/index.html.
2
         Dan Merica, “What Trump’s Opioid Announcement Means – and Doesn’t Mean,” (Oct. 26, 2017),
http://www.cnn.com/2017/10/26/politics/national-health-emergency-national-disaster/index.html.
3
         Prevalence of Opioid Misuse, BupPractice (Sept. 7, 2017), https://www.buppractice.com/node/15576.



PLAINTIFF’S ORIGINAL COMPLAINT                        2
in the world . . . .” 4

         3.       Unfortunately, using opioids too often leads to addiction and overdose from

opioids. In 2014, almost 2 million Americans were addicted to opioids. 5 That same year, more

people died from drug overdoses than in any other year, and most overdose deaths involved an

opioid. The Texas Legislature has found “that deaths resulting from the use of opioids and other

controlled substances constitute a public health crisis.” 6 In 2015, Texas “had the second highest

total healthcare costs from opioid abuse in the nation ($1.96 billion) . . . .” 7

         4.       In fact, accidental drug overdose deaths, of which reportedly at least two-thirds

are opioid overdoses, are the leading cause of death for Americans under the age of 50.

Accidental drug overdose deaths, predominantly from opioids, exceed the number of deaths

caused by cars or guns.

         5.       The economic burden caused by opioid abuse in the United States is at least $78.5

billion, 8 including lost productivity and increased social services, health insurance costs,

increased criminal justice presence and strain on judicial resources, and substance abuse

treatment and rehabilitation.

         6.       This epidemic did not occur by chance. Defendants manufacture, market,

distribute, and sell prescription opioids, including, but not limited to, brand-name drugs like

4
         David Wright, “Christie on Opioids: “This is the AIDS Epidemic of Our Generation, but even Worse,”
(Oct. 27, 2017), http://www.cnn.com/2017/10/27/politics/chris-christie-opioid-commission-aids-cnntv/index.html.
5
         Substance Abuse and Mental Health Services Administration, National Survey on Drug Use and Health,
2014.
6
          Opinion of the Attorney General of Texas, KP-0168 (Oct. 4, 2017), citing Act of May 26, 2017, 85th Leg.,
R.S., ch. 534, §3, 2017 Tex. Sess. Law Serv. 1467, 1468.
7
         Kerry Craig, “Opioid Addiction Results in one Woman’s Daily Struggle,” Oct. 7, 2017,
https://www.ssnewstelegram.com/news/opioid-addiction-results-in-one-woman-s-daily-struggle/article_bded4eoa-
ab80-11e7-a252-d3f304e26628.html.
8
         See CDC Foundation’s New Business Pulse Focuses on Opioid Overdose Epidemic, Centers for Disease
Control and Prevention (Mar. 15, 2017), https://www.cdc.gov/media/releases/2017/a0315-business-pulse-
opioids.html.



PLAINTIFF’S ORIGINAL COMPLAINT                          3
OxyContin, Vicodin, Opana, Percocet, Percodan, Duragesic, Ultram, Ultracet, and generics like

oxycodone, oxymorphone, hydromorphone, hydrocodone, fentanyl, and tramadol, which are

powerful narcotics.

        7.       Historically, opioids were considered too addictive and debilitating for treating

non-cancer chronic pain, 9 such as back pain, migraines, and arthritis, and were used only to treat

short-term acute pain or for palliative or end-of-life care.

        8.       By the late 1990s or early 2000s, however, each Manufacturing Defendant10

began a marketing scheme to persuade doctors and patients that opioids can and should be used

ubiquitously and perpetually to treat moderate, non-cancer chronic pain. Each Manufacturing

Defendant spent large sums of money to promote the benefits of opioids for non-cancer moderate

pain while trivializing, or even denying, their risks. The Manufacturing Defendants’ promotional

messages deviated substantially from any approved labeling of the drugs and caused prescribing

physicians and consuming patients to underappreciate the health risks, and to overestimate the

benefits, of opioids.

        9.       Contrary to the language of their drugs’ labels, Defendants falsely and

misleadingly, in their marketing: (1) downplayed the serious risk of addiction; (2) promoted and

exaggerated the concept of “pseudoaddiction” thereby advocating that the signs of addiction

should be treated with more opioids; (3) exaggerated the effectiveness of screening tools in

preventing addiction; (4) claimed that opioid dependence and withdrawal are easily managed; (5)

denied the risks of higher opioid dosages; and (6) exaggerated the effectiveness of “abuse-

9
        “Chronic pain” means non-cancer pain lasting three months or longer.
10
         The “Manufacturing Defendants” are Purdue Pharma L.P., Purdue Pharma Inc., The Purdue Frederick
Company, Johnson & Johnson, Janssen Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc. n/k/a Janssen
Pharmaceuticals, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc., Endo
Health Solutions Inc., Endo Pharmaceuticals, Inc., Abbvie Inc., Knoll Pharmaceutical Company, a wholly-owned
subsidiary of Abbvie Inc., Allergan PLC f/k/a Actavis PLC, Allergan Finance, LLC f/k/a Actavis, Inc. f/k/a Watson
Pharmaceuticals, Inc., Watson Laboratories, Inc., Actavis LLC, Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.



PLAINTIFF’S ORIGINAL COMPLAINT                          4
deterrent” opioid formulations to prevent abuse and addiction.

       10.     Defendants disseminated these falsehoods through ads and/or their sales

representatives and physicians who supported Defendants’ message. Sales representatives,

working at Defendants’ behest, promoted highly addictive opioids through souvenirs and toys

including, but not limited to, opioid brand-bearing stuffed plush toys, dolls, coffee cups, fanny

packs, water bottles, notepads, pens, refrigerator magnets, clocks, letter openers, rulers, daytime

planners, bags, puzzles, posters, hand-held calculators, clipboards, highlighters, flashlights, key

chains, clothing, reflex mallets, and mock-ups of the United States Constitution.

       11.     Defendants also used third parties they controlled by: (a) funding, assisting,

encouraging, and directing doctors, known as “key opinion leaders” (“KOLs”) and (b) funding,

assisting, directing, and encouraging seemingly neutral and credible professional societies and

patient advocacy groups (referred to hereinafter as “Front Groups”).

       12.     Defendants worked with KOLs and Front Groups to taint the sources that doctors

and patients relied on for ostensibly “neutral” guidance, such as treatment guidelines, Continuing

Medical Education (“CME”) programs, medical conferences and seminars, and scientific articles.

After their individual and concerted efforts, Defendants convinced doctors that instead of being

addictive and unsafe for long-term use in most circumstances, opioids were required in the

compassionate treatment of chronic pain.

       13.     Cardinal, AmerisourceBergen, and McKesson (“Distributor Defendants”) were

not standing by idly while Manufacturing Defendants were peddling their opioids to physicians

and consumers. Distributor Defendants are three of the largest opioid distributors in the United

States. Distributor Defendants purchased opioids from Manufacturing Defendants herein and

sold them to pharmacies servicing consumers in Tarrant County.




PLAINTIFF’S ORIGINAL COMPLAINT                  5
        14.      Despite the rise in the ordering of opioids by retailers in Tarrant County,

Distributor Defendants did nothing. The Manufacturing Defendants and Distributor Defendants

worked hand and glove to flood the U.S. and, upon information and belief, Tarrant County with

more opioids than would be consumed for therapeutic purposes. Each Defendant disregarded its

legal duty to report suspicious opioid prescriptions, and each Defendant financially benefitted

from the other Defendant’s (both Manufacturing and Distributor Defendants), disregarding their

individual duties to report.

        15.      Essentially each Defendant ignored science and consumer health for profits.

Defendants’ efforts were so successful that opioids are now the most prescribed class of drugs

generating $11 billion in revenue for drug companies in 2014 alone. Even after Defendant

Purdue reached a $600 million federal settlement in 2007, the settlement failed to impact what is

a “$13-billion-a-year opioid industry.” 11

        16.      Upon information and belief, as a direct and foreseeable consequence of

Defendants’ misrepresentations regarding the safety and efficacy of using opioids for chronic

pain, Tarrant County has spent and continues to spend large sums combatting the public health

crisis created by Defendants’ negligent and fraudulent marketing campaign.

        17.      For example, scores of prescriptions were written for opioids in Tarrant County in

2012 12 and in 2012 there were multiple deaths reported from drug overdoses. 13 A substantial

number of those overdose deaths were a result, in whole or in part, of opioid ingestion. In each

year from 2013-2017, there were multiple deaths in Tarrant County caused in whole or in part


11
         Rebecca L. Haffajee, J.D., Ph.D., M.P.H., and Michelle M. Mello, J.D., Ph.D., Drug Companies’ Liability
for the Opioid Epidemic, N. Engl. J. Med. at 2305, (Dec. 14, 2017).
12
        https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html;
        https://www.cdc.gov/nchs/data-visualization/drug-poisoning-mortality.
13
        https://www.cdc.gov/nchs/data-visualization/drug-poisoning-mortality.



PLAINTIFF’S ORIGINAL COMPLAINT                         6
from ingestion of prescription opioids. Defendants’ marketing misconduct, as well as

Defendants’ efforts to sell more prescription opioids that can be consumed therapeutically, were

natural and foreseeable causes of overdose deaths and injuries in Tarrant County.

       18.     Upon information and belief, as a direct and foreseeable consequence of

Defendants’ conduct described regarding prescription opioids, Tarrant County has committed

and continues to commit resources to provide and pay for health care, law enforcement, social

services, public assistance, pharmaceutical care and other services necessary for its residents.

                                 II. VENUE AND JURISDICTION

       19.     Venue is proper in the United States District Court for the Northern District of Texas

because all or a substantial part of the events or omissions giving rise to this claim occurred in the

Northern District of Texas. 28 U.S.C. § 1391.

       20.     Federal subject matter jurisdiction is based upon 28 U.S.C. § 1331.

       21.     This Court has general jurisdiction over Purdue Pharma L.P. as it is a Texas

citizen. This Court also has specific jurisdiction over all Defendants as their activities were

directed toward Texas, and injuries complained of herein resulted from their activities. Each

Defendant has a substantial connection with Texas and the requisite minimum contacts with

Texas necessary to constitutionally permit the Court to exercise jurisdiction.

                                            III. PARTIES

A.     Plaintiff

       22.     This action is brought for and on behalf of Tarrant County, which provides a

wide range of services on behalf of its residents, including services for families and children,

public health, public assistance, and law enforcement.

B.     Defendants




PLAINTIFF’S ORIGINAL COMPLAINT                    7
       23.    PURDUE PHARMA L.P. is a limited partnership organized under the laws of

Delaware, and may be served through its registered agent for service of process, The Prentice-

Hall Corporation System, Inc., 251 Little Falls Drive, Wilmington, DE 19808. PURDUE

PHARMA L.P. is, through its ownership structure, a Texas resident. PURDUE PHARMA INC. is

a New York corporation with its principal place of business in Stamford, Connecticut, and may

be served through its registered agent for service of process, Corporation Service Company, 80

State Street, Albany, NY 12207. Furthermore, Purdue Pharma L.P. is a Texas citizen. THE

PURDUE FREDERICK COMPANY is a Delaware corporation with its principal place of

business in Stamford, Connecticut, and may be served through its registered agent for service of

process, The Prentice-Hall Corporation System, Inc., 251 Little Falls Drive, Wilmington, DE

19808 (collectively, “Purdue”).

       24.    Purdue manufactures, promotes, sells, and distributes opioids in the U.S. and

Tarrant County. Purdue’s opioid drug, OxyContin, is among the most addictive and abused

prescription drugs in the history of America. Purdue promotes opioids throughout the United

States and in Tarrant County.

       25.    JANSSEN PHARMACEUTICALS, INC. is a Pennsylvania corporation with its

principal place of business in Titusville, New Jersey, and may be served through its registered

agent for service of process, CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX

75201. JANSSEN PHARMACEUTICALS, INC. is a wholly owned subsidiary of JOHNSON &

JOHNSON (J&J), a New Jersey corporation with its principal place of business in New

Brunswick, New Jersey, and may be served through its registered agent for service of process,

Attention: Legal Department, One Johnson & Johnson Plaza, New Brunswick, NJ 08933.

ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS, INC., now known as JANSSEN




PLAINTIFF’S ORIGINAL COMPLAINT                 8
PHARMACEUTICALS, INC., is a Pennsylvania corporation with its principal place of business

in Titusville, New Jersey. JANSSEN PHARMACEUTICA INC., now known as JANSSEN

PHARMACEUTICALS, INC., is a Pennsylvania corporation with its principal place of business

in Titusville, New Jersey. J&J is the only company that owns more than 10% of Janssen

Pharmaceuticals’ stock, and corresponds with the FDA regarding Janssen’s products. Upon

information and belief, J&J controls the sale and development of Janssen Pharmaceuticals’ drugs

and Janssen’s profits inure to J&J’s benefit. (Janssen Pharmaceuticals, Inc., Ortho-McNeil-

Janssen Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc., and J&J are referred to as

“Janssen”).

       26.     Janssen manufactures, promotes, sells, and distributes opioids in the U.S. and its

opioid business impacts Tarrant County.

       27.     ENDO HEALTH SOLUTIONS INC. is a Delaware corporation with its principal

place of business in Malvern, Pennsylvania, and may be served through its registered agent for

service of process, The Corporation Trust Company, Corporation Trust Center, 1209 Orange St.,

Wilmington, DE 19801. ENDO PHARMACEUTICALS, INC. is a wholly-owned subsidiary of

Endo Health Solutions Inc. and is a Delaware corporation with its principal place of business in

Malvern, Pennsylvania, and may be served through its registered agent for service of process, CT

Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX 75201. (Endo Health Solutions

Inc. and Endo Pharmaceuticals, Inc. are referred to as “Endo”).

       28.     Endo develops, markets, and sells opioid drugs in the U.S. and its opioid business

impacts Tarrant County. Endo also manufactures generic opioids and sells them in the U.S. and

Tarrant County, by itself and through its subsidiary, Qualitest Pharmaceuticals, Inc.

       29.     ABBVIE INC. (“Abbvie”) is a Delaware corporation with its principal place of




PLAINTIFF’S ORIGINAL COMPLAINT                   9
business in North Chicago, Illinois, and may be served through its registered agent for service of

process, CT Corporation System, 208 S. LaSalle Street, Suite 814, Chicago, IL 60604. KNOLL

PHARMACEUTICAL COMPANY (“Knoll”) has been a wholly-owned subsidiary of Abbvie

from January 1, 2013. Knoll is a New Jersey corporation with its principal place of business in

Parsippany, New Jersey, and may be served through its registered agent for service of process,

CT Corporation System, 208 S. LaSalle Street, Suite 814, Chicago, IL 60604.

        30.     Knoll irresponsibly marketed narcotics, such as Vicodin, through whimsical toys

and souvenirs and did so to boost the sales of opioids. Taking advantage of the fact that Vicodin

was not regulated as a Schedule II controlled substance for many years, and the fact physicians

and consumers did not fully appreciate the highly addictive nature of Vicodin, Knoll advertised

Vicodin with tag lines such as “The Highest Potency Pain Relief You Can Still Phone In.” This

tag line came as part and parcel of souvenirs like a “Vicodin” fanny pack and water bottle, both

bearing the name of Vicodin, the opioid Knoll was promoting. This irresponsible marketing of a

narcotic drug caused doctors and patients to believe Vicodin was safer than it really was, to the

detriment of people in Tarrant County.

        31.     Abbvie began manufacturing, developing, promoting, marketing, and selling the

opioid drug, Vicodin, in the U.S. and its opioid business impacts Tarrant County. On information

and belief, it continues to do so at the time of filing this pleading.

        32.     ALLERGAN PLC is a public limited company incorporated in Ireland with its

principal place of business in Dublin, Ireland. ACTAVIS PLC acquired Allergan plc in March

2015, and the combined company changed its name to Allergan plc in January 2013. Before

that, WATSON PHARMACEUTICALS, INC. acquired ACTAVIS, INC. in October 2012, and

the combined company changed its name to ALLERGAN FINANCE, LLC as of October 2013.




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ALLERGAN FINANCE, LLC is a Nevada Corporation with its principal place of business in

Parsippany, New Jersey, and may be served through its registered agent for service of process,

The Corporation Trust Company of Nevada, 701 S. Carson St., Suite 200, Carson City, NV

89701. WATSON LABORATORIES, INC. is a Nevada corporation with its principal place of

business in Corona, California, and is a wholly-owned subsidiary of Allergan plc (f/k/a Actavis,

Inc., f/k/a Watson Pharmaceuticals, Inc.), and may be served through its registered agent for

service of process, Corporate Creations Network, Inc., 8275 South Eastern Ave., #200, Las

Vegas, NV 89123. ACTAVIS PHARMA, INC. (f/k/a Actavis, Inc.) is a Delaware corporation

with its principal place of business in New Jersey and was formerly known as WATSON

PHARMA, INC, and may be served through its registered agent for service of process, CT

Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX 75201. ACTAVIS LLC is a

Delaware limited liability company with its principal place of business in Parsippany, New

Jersey, and may be served through its registered agent for service of process, Corporate Creations

Network, Inc., 3411 Silverside Rd., Tatnall Building, Suite 104, Wilmington, DE 19810. Each of

these Defendants is owned by Allergan plc, which uses them to market and sell its drugs in the

United States.

       33.       Upon information and belief, Allergan plc exercises control over these marketing

and sales efforts and profits from the sale of Allergan/Actavis products ultimately inure to its

benefit. (Allergan plc, Actavis plc, Actavis, Inc., Allergan Finance, LLC, Actavis LLC, Actavis

Pharma, Inc., Watson Pharmaceuticals, Inc., Watson Pharma, Inc., and Watson Laboratories, Inc.

are referred to as “Actavis”). Actavis acquired the rights to Kadian from King Pharmaceuticals,

Inc. on December 30, 2008 and began marketing Kadian in 2009.

       34.       Actavis manufactures, promotes, sells, and distributes opioids in the U.S. and its




PLAINTIFF’S ORIGINAL COMPLAINT                   11
opioid business impacts Tarrant County.

       35.     MCKESSON CORPORATION (“McKesson”) is a Delaware corporation with its

principal place of business in San Francisco, California, and may be served through its registered

agent for service of process, CSC - Lawyers Incorporating Service, 211 E. 7th Street, Suite 620,

Austin, TX 78701. Upon information and belief, McKesson is a pharmaceutical distributor

licensed to do business in Texas. McKesson distributes pharmaceuticals to retail pharmacies and

institutional providers in all 50 states, including Texas and Tarrant County.

       36.     CARDINAL HEALTH, INC. (“Cardinal”) is an Ohio Corporation with its

principal place of business in Dublin, Ohio, and may be served through its registered agent for

service of process, CT Corporation System, 4400 Easton Commons, Suite 125, Columbus, OH

43219. Cardinal does substantial business in Texas and, upon information and belief, Cardinal is a

pharmaceutical distributor licensed to do business in Texas. Cardinal distributes pharmaceuticals

to retail pharmacies and institutional providers to customers in all 50 states, including Texas and

Tarrant County.

       37.     AMERISOURCEBERGEN DRUG CORPORATION (“Amerisource”) is a

Delaware Corporation with its principal place of business in Chesterbrook, Pennsylvania, and

may be served through its registered agent for service of process, The Corporation Trust

Company, Corporation Trust Center, 1209 Orange St., Wilmington, DE 19801. Amerisource does

substantial business in Texas and, upon information and belief, Amerisource is a pharmaceutical

distributor licensed to do business in Texas. Amerisource distributes pharmaceuticals to retail

pharmacies and institutional providers to customers in all 50 states, including Texas and Tarrant

County.

       38.     The County lacks information sufficient to specifically identify the true names or




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capacities, whether individual, corporate or otherwise, of Defendants sued herein under the

fictitious names DOES 1 through 100 inclusive. The County will amend this Complaint to show

their true names and capacities if and when they are ascertained. Tarrant County is informed and

believes, and on such information and belief alleges, that each of the Defendants named as a

DOE has engaged in conduct that contributed to cause events and occurrences alleged in this

Complaint and, as such, shares liability for at least some part of the relief sought herein.

                                  IV. FACTUAL ALLEGATIONS

       39.     Before the 1990s, generally accepted standards of medical practice dictated that

opioids should be used only for short-term acute pain – pain relating to recovery from surgery or

for cancer or palliative (end-of-life) care. Using opioids for chronic pain was discouraged or

even prohibited because there was a lack of evidence that opioids improved patients’ ability to

overcome pain and to function. Instead the evidence demonstrated that patients developed

tolerance to opioids over time, which increased the risk of addiction and other side effects.

       40.     Defendants dramatically changed doctors’ views regarding opioids through a

well-funded deceptive marketing scheme. Each Defendant used direct marketing and unbranded

advertising disseminated by seemingly independent third parties to spread false and deceptive

statements about the risks and benefits of long-term opioid use.

A.     Defendants Used Multiple Avenues To Disseminate their False and Deceptive
       Statements about Opioids.

       41.     Upon information and belief, Defendants spread their false and deceptive

statements by (1) marketing their branded opioids directly to doctors treating patients residing

in Tarrant County and the Tarrant County patients themselves and (2) deploying so-called

unbiased and independent third parties to Tarrant County.

               1. Defendants Spread and Continue to Spread Their False and Deceptive



PLAINTIFF’S ORIGINAL COMPLAINT                   13
                  Statements Through Direct Marketing of Their Branded Opioids.

         42.   Defendants’ direct marketing of opioids generally proceeded on two tracks. First,

each Defendant conducted advertising campaigns touting the purported benefits of their branded

drugs. For example, Defendants spent more than $14 million on medical journal advertising of

opioids in 2011, nearly triple what they spent in 2001, including $8.3 million by Purdue, $4.9

million by Janssen, and $1.1 million by Endo.

         43.   A number of Defendants’ branded ads deceptively portrayed the benefits of

opioids for chronic pain. For example, Endo distributed and made available on its website,

www.opana.com, a pamphlet promoting Opana ER with photographs depicting patients with

physically demanding jobs like a construction worker and chef, implying that the drug would

provide long-term pain-relief and functional improvement. Purdue also ran a series of ads, called

“pain vignettes,” for OxyContin in 2012 in medical journals. These ads featured chronic pain

patients and recommended OxyContin for each. One ad described a “54-year-old writer with

osteoarthritis of the hands” and implied that OxyContin would help the writer work more

effectively. Pursuant to a settlement agreement, Endo and Purdue agreed in late 2015 and 2016 to

halt these misleading representations in New York, but they may continue to disseminate them in

Texas.

         44.   Second, each Defendant promoted the use of opioids for chronic pain through

“detailers” – sales representatives who visited individual doctors and medical staff in their offices

– and small-group speaker programs. Defendants devoted massive resources to direct sales

contacts with doctors. In 2014 alone, Defendants spent $168 million on detailing branded opioids

to doctors, including $108 million by Purdue, $34 million by Janssen, $10 million by Endo, and

$2 million by Actavis. This amount is twice as much as Defendants spent on detailing in 2000.




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       45.     Defendants also identified doctors to serve, for payment, on their speakers’

bureaus and to attend programs with speakers and meals paid for by Defendants. These speaker

programs provided: (1) an incentive for doctors to prescribe a particular opioid (so they might be

selected to promote the drug); (2) recognition and compensation for the doctors selected as

speakers; and (3) an opportunity to promote the drug through the speaker to his or her peers.

These speakers gave the false impression that they were providing unbiased and medically-

accurate presentations when they were, in fact, presenting a script prepared by Defendants. On

information and belief, these presentations conveyed misleading information, omitted material

information, and failed to correct Defendants’ prior misrepresentations about the risks and

benefits of opioids.

       46.     Upon information and belief, Defendants employed the same marketing plans,

strategies, and messages in and around Tarrant County, Texas as they did nationwide. Across the

pharmaceutical industry, “core message” development is funded and overseen on a national basis

by corporate headquarters. This comprehensive approach ensures that Defendants’ messages are

accurately and consistently delivered across marketing channels and in each sales territory.

Defendants consider this high level of coordination and uniformity crucial to successfully

marketing their drugs.

               2. Defendants Used a Diverse Group of Seemingly Independent Third
                  Parties to Spread False and Deceptive Statements about the Risks and
                  Benefits of Opioids.

       47.     Upon information and belief, Defendants also deceptively marketed opioids in

and around Tarrant County through unbranded advertising – i.e., advertising that promotes

opioid use generally but does not name a specific opioid. This advertising was ostensibly created

and disseminated by independent third parties. But by funding, directing, reviewing, editing, and




PLAINTIFF’S ORIGINAL COMPLAINT                 15
distributing this unbranded advertising, Defendants controlled the deceptive messages

disseminated by these third parties and acted in concert with them to falsely and misleadingly

promote opioids for treating chronic pain.

       48.     Unbranded advertising also avoided regulatory scrutiny because Defendants did

not have to submit it to the FDA, and therefore it was not reviewed by the FDA.

       49.     Defendants’ deceptive unbranded marketing often contradicted their branded

materials reviewed by the FDA. For example, Endo’s unbranded advertising contradicted its

concurrent, branded advertising for Opana ER:

                   Pain: Opioid Therapy             Opana ER Advertisement
                       (Unbranded)                          (Branded)
                                                “All patients treated with opioids
               “People who take opioids as      require careful monitoring for
               prescribed usually do not        signs of abuse and addiction, since
               become addicted.”                use of opioid analgesic products
                                                carries the risk of addiction even
                                                under appropriate medical use.”

       a.      Key Opinion Leaders (KOLs)

       50.     Defendants spoke through a small circle of doctors who, upon information and

belief, were selected, funded, and elevated by Defendants because their public positions

supported using opioids to treat chronic pain. These doctors became known as “key opinion

leaders” or “KOLs.”

       51.     Defendants paid KOLs to serve as consultants or on their advisory boards and to

give talks or present CMEs, and their support helped these KOLs become respected industry

experts. As they rose to prominence, these KOLs touted the benefits of opioids to treat chronic

pain, repaying Defendants by advancing their marketing goals. KOLs’ professional reputations

became dependent on continuing to promote a pro-opioid message, even in activities that were

not directly funded by Defendants.



PLAINTIFF’S ORIGINAL COMPLAINT                  16
       52.     KOLs have written, consulted on, edited, and lent their names to books and

articles, and given speeches and CMEs supportive of chronic opioid therapy. Defendants created

opportunities for KOLs to participate in research studies Defendants suggested or chose and then

cited and promoted favorable studies or articles by their KOLs. By contrast, Defendants did not

support, acknowledge, or disseminate publications of doctors unsupportive or critical of chronic

opioid therapy.

       53.     Defendants’ KOLs also served on committees that developed treatment guidelines

that strongly encourage using opioids to treat chronic pain, and on the boards of pro-opioid

advocacy groups and professional societies that develop, select, and present CMEs. Defendants

were able to direct and exert control over each of these activities through their KOLs.

       54.     Pro-opioid doctors are one of the most important avenues that Defendants use to

spread their false and deceptive statements about the risks and benefits of long-term opioid use.

Defendants know that doctors rely heavily and less critically on their peers for guidance, and

KOLs provide the false appearance of unbiased and reliable support for chronic opioid therapy.

       55.     Defendants utilized many KOLs, including many of the same ones. Two of the

most prominent are described below.

               1. Russell Portenoy

       56.     Dr. Russell Portenoy, former Chairman of the Department of Pain Medicine and

Palliative Care at Beth Israel Medical Center in New York, is one example of a KOL who

Defendants identified and promoted to further their marketing campaign. Dr. Portenoy received

research support, consulting fees, and honoraria from Endo, Janssen, and Purdue (among others),

and was a paid consultant to Purdue.

       57.     Dr. Portenoy was instrumental in opening the door for the regular use of opioids to




PLAINTIFF’S ORIGINAL COMPLAINT                  17
treat chronic pain. He served on the American Pain Society (“APS”)/American Academy of Pain

Medicine (“AAPM”) Guidelines Committees, which endorsed the use of opioids to treat chronic

pain, first in 1997 and again in 2009. He was also a member of the board of the American Pain

Foundation (“APF”), an advocacy organization almost entirely funded by Defendants.

           58.     Dr. Portenoy also made frequent media appearances promoting opioids. He

appeared on Good Morning America in 2010 to discuss using opioids long-term to treat chronic

pain. On this widely-watched program, broadcast in Texas and across the country, Dr. Portenoy

claimed: “Addiction, when treating pain, is distinctly uncommon. If a person does not have a

history, a personal history, of substance abuse, and does not have a history in the family of

substance abuse, and does not have a very major psychiatric disorder, most doctors can feel very

assured that that person is not going to become addicted.” 14

           59.     Dr. Portenoy later admitted that he “gave innumerable lectures in the late 1980s

and ‘90s about addiction that weren’t true.” 15 These lectures falsely claimed that less than 1% of

patients would become addicted to opioids. According to Dr. Portenoy, because the primary goal

was to “destigmatize” opioids, he and other doctors promoting them overstated their benefits and

glossed over their risks. Dr. Portenoy also conceded that “[d]ata about the effectiveness of

opioids does not exist.”16         Portenoy candidly stated: “Did I teach about pain management,

specifically about opioid therapy, in a way that reflects misinformation? Well…I guess I did.” 17

                   2. Lynn Webster

           60.     Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

14
           Good Morning America television broadcast, ABC News (Aug. 30, 2010).
15
            Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, WALL ST. J., Dec.
     17, 2012.
16
           Id.
17
           Id.



PLAINTIFF’S ORIGINAL COMPLAINT                         18
of Lifetree Clinical Research, an otherwise unknown pain clinic in Salt Lake City, Utah. Dr.

Webster was President in 2013 and is a current board member of AAPM, a Front Group that

ardently supports chronic opioid therapy. He is a Senior Editor of Pain Medicine, the same

journal that published Endo special advertising supplements touting Opana ER. Dr. Webster

authored numerous CMEs sponsored by Endo and Purdue while he was receiving significant

funding from Defendants.

       61.     In 2011, Dr. Webster presented a program via webinar sponsored by Purdue

titled, Managing Patient’s Opioid Use: Balancing the Need and the Risk. Dr. Webster

recommended using risk screening tools, such as urine testing and patient agreements as a way to

prevent “overuse of prescriptions” and “overdose deaths,” which was available to and was, upon

information and belief, intended to reach doctors treating Tarrant County residents.

       62.     Dr. Webster also was a leading proponent of the concept of “pseudoaddiction,”

the notion that addictive behaviors should be seen not as warnings, but as indications of

undertreated pain. In Dr. Webster’s description, the only way to differentiate the two was to

increase a patient’s dose of opioids. As he and his co-author wrote in a book entitled Avoiding

Opioid Abuse While Managing Pain (2007), a book that is still available online, when faced with

signs of aberrant behavior, increasing the dose “in most cases . . . should be the clinician’s first

response.” Endo distributed this book to doctors. Years later, Dr. Webster reversed himself,

acknowledging that “[pseudoaddiction] obviously became too much of an excuse to give patients

more medication.” 18

       b.      Front Groups

       63.     Defendants entered into arrangements with seemingly unbiased and independent

18
         John Fauber & Ellen Gabler, Networking Fuels Painkiller Boom, MILWAUKEE WISC. J. SENTINEL
(Feb. 19, 2012).



PLAINTIFF’S ORIGINAL COMPLAINT                  19
patient and professional organizations to promote opioids for treating chronic pain. Under

Defendants’ direction and control, these “Front Groups” generated treatment guidelines,

unbranded materials, and programs that favored chronic opioid therapy. They also assisted

Defendants by responding to negative articles, by advocating against regulatory changes that

would limit prescribing opioids in accordance with the scientific evidence, and by conducting

outreach to vulnerable patient populations targeted by Defendants.

        64.   These Front Groups depended on Defendants for funding and, in some cases, for

survival. Defendants also exercised control over programs and materials created by these groups

by collaborating on, editing, and approving their content, and by funding their dissemination. In

doing so, Defendants made sure these Groups would generate only the messages Defendants

wanted to distribute. Even so, the Front Groups held themselves out as independent and as serving

the needs of their members – whether patients suffering from pain or doctors treating those

patients.

        65.   Defendants Endo, Janssen, and Purdue utilized many Front Groups, including

many of the same ones. Several of the most prominent are described below, but there are many

others, including the American Pain Society (“APS”), American Geriatrics Society (“AGS”), the

Federation of State Medical Boards (“FSMB”), American Chronic Pain Association (“ACPA”),

American Society of Pain Education (“ASPE”), National Pain Foundation (“NPF”) and Pain &

Policy Studies Group (“PPSG”).

              1. American Pain Foundation (“APF”)

        66.   The most prominent of Defendants’ Front Groups was APF, which received more

than $10 million in funding from opioid manufacturers from 2007 until it closed its doors in May

2012. Endo alone provided more than half that funding; Purdue was next at $1.7 million.

        67.   In 2009 and 2010, more than 80% of APF’s operating budget came from


PLAINTIFF’S ORIGINAL COMPLAINT                 20
pharmaceutical industry sources. Including industry grants for specific projects, APF received

about $2.3 million from industry sources out of total income of about $2.85 million in 2009; its

budget for 2010 projected receipts of roughly $2.9 million from drug companies, out of total

income of about $3.5 million. By 2011, APF was entirely dependent on incoming grants from

defendants Purdue, Endo, and others to avoid using its line of credit. As one of its board

members, Russell Portenoy, explained the lack of funding diversity was one of the biggest

problems at APF.

       68.     APF issued education guides for patients, reporters, and policymakers that touted

the benefits of opioids for chronic pain and trivialized their risks, particularly the risk of

addiction. APF also engaged in a significant multimedia campaign – through radio, television,

and the internet – to educate patients about their “right” to pain treatment, namely opioids. All of

the programs and materials were available nationally and were, upon information and belief,

intended to reach patients and consumers in Tarrant County.

               2. American Academy of Pain Medicine (“AAPM”)

       69.     The American Academy of Pain Medicine, with the assistance, prompting,

involvement, and funding of Defendants, issued treatment guidelines and sponsored and hosted

medical education programs essential to Defendants’ deceptive marketing of chronic opioid

therapy.

       70.     AAPM received over $2.2 million in funding since 2009 from opioid

manufacturers. AAPM maintained a corporate relations council, whose members paid $25,000

per year (on top of other funding) to participate. The benefits included allowing members to

present educational programs at off-site dinner symposia in connection with AAPM’s marquee

event – its annual meeting held in Palm Springs, California, or other resort locations. AAPM




PLAINTIFF’S ORIGINAL COMPLAINT                  21
describes the annual event as an “exclusive venue” for offering education programs to doctors.

Membership in the corporate relations council also allows drug company executives and

marketing staff to meet with AAPM executive committee members in small settings. Defendants

Endo, Purdue, and Actavis were members of the council and presented deceptive programs to

doctors who attended this annual event.

        71.      AAPM is viewed internally by Endo as “industry friendly,” with Endo advisors

and speakers among its active members. Endo attended AAPM conferences, funded its CMEs,

and distributed its publications. The conferences sponsored by AAPM heavily emphasized

sessions on opioids – 37 out of roughly 40 at one conference alone. AAPM’s presidents have

included top industry-supported KOLs Perry Fine, Russell Portenoy, and Lynn Webster. Dr.

Webster was even elected president of AAPM while under a DEA investigation. Another past

AAPM president, Dr. Scott Fishman, stated that he would place the organization “at the

forefront” of teaching that “the risks of addiction are . . . small and can be managed.” 19

        72.      AAPM’s staff understood they and their industry funders were engaged in a

common task. Defendants were able to influence AAPM through both their significant and

regular funding and the leadership of pro-opioid KOLs within the organization.

        73.      In 1997, AAPM and the American Pain Society jointly issued a consensus

statement, The Use of Opioids for the Treatment of Chronic Pain, which endorsed opioids to

treat chronic pain and claimed there was a low risk that patients would become addicted to

opioids. The co-author of the statement, Dr. Haddox, was at the time a paid speaker for Purdue.

Dr. Portenoy was the sole consultant. The consensus statement remained on AAPM’s website

until 2011, and was taken down from AAPM’s website only after a doctor complained, though it

19
         Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain Medicine,
Chief of the Division of Pain Medicine, Univ. of Cal., Davis (2005), http://www.medscape.org/viewarticle/500829.



PLAINTIFF’S ORIGINAL COMPLAINT                         22
still lingers on the internet elsewhere.

        74.     AAPM and APS issued their own guidelines in 2009 (“AAPM/APS Guidelines”)

and continued to recommend using opioids to treat chronic pain. Fourteen of the 21 panel

members who drafted the AAPM/APS Guidelines, including KOLs Dr. Portenoy and Dr. Perry

Fine of the University of Utah, received support from Janssen, Endo, and Purdue.

        75.     The 2009 Guidelines promote opioids as “safe and effective” for treating chronic

pain, despite acknowledging limited evidence, and conclude that the risk of addiction is

manageable for patients regardless of past abuse histories. One panel member, Dr. Joel Saper,

Clinical Professor of Neurology at Michigan State University and founder of the Michigan

Headache & Neurological Institute, resigned from the panel because he was concerned the 2009

Guidelines were influenced by contributions that drug companies, including Defendants, made to

the sponsoring organizations and committee members. These AAPM/APS Guidelines have been

a particularly effective channel of deception and have influenced not only treating physicians,

but also the body of scientific evidence on opioids. The Guidelines have been cited 732 times in

academic literature, were, upon information and belief, disseminated in and around Tarrant

County during the relevant time period, are still available online, and were reprinted in the

Journal of Pain.

B.      Defendants’ Marketing Scheme Misrepresented the Risks and Benefits of Opioids.

        76.     Upon information and belief, to convince doctors treating residents in Tarrant

County and Tarrant County patients that opioids can and should be used to treat chronic pain,

Defendants had to convince them that long-term opioid use is both safe and effective. Knowing

they could do so only by deceiving those doctors and patients about the risks and benefits of

long-term opioid use, Defendants made claims that were not supported by, or were contrary to,




PLAINTIFF’S ORIGINAL COMPLAINT                 23
the scientific evidence. Even though pronouncements by and guidance from the FDA and the

CDC based on that evidence confirm that their claims were false and deceptive, Defendants have

not corrected them, or instructed their KOLs or Front Groups to correct them, and continue to

spread them today.

C.     Defendants Falsely Trivialized or Failed to Disclose the Known Risks of Long-Term
       Opioid Use.

       77.     To convince doctors and patients that opioids are safe, Defendants deceptively

trivialized and failed to disclose the risks of long-term opioid use, particularly the risk of

addiction, through a series of misrepresentations that have been conclusively debunked by the

FDA and CDC. These misrepresentations – which are described below – reinforced each other

and created the dangerously misleading impression that: (1) starting patients on opioids was low-

risk because most patients would not become addicted, and because those who were at greatest

risk of addiction could be readily identified and managed; (2) patients who displayed signs of

addiction probably were not addicted and, in any event, could easily be weaned from the drugs;

(3) the use of higher opioid doses, which many patients need to sustain pain relief as they

develop tolerance to the drugs, does not pose special risks; and (4) abuse-deterrent opioids both

prevent overdose and are inherently less addictive. Defendants have not only failed to correct

these misrepresentations, they continue to make them today.

       78.     First, Defendants falsely claimed the risk of addiction is low and unlikely to

develop when opioids are prescribed, as opposed to obtained illicitly, and failed to disclose the

greater risk of addiction with prolonged use of opioids. For example:

               a.     Actavis’s predecessor caused a patient education brochure to be
                      distributed in 2007 claiming opioid addiction is possible, but “less likely if
                      you have never had an addiction problem.” Upon information and belief,
                      based on Actavis’s acquisition of its predecessor’s marketing materials
                      along with the rights to Kadian, Actavis continued to use this brochure in



PLAINTIFF’S ORIGINAL COMPLAINT                 24
                     2009 and beyond;

              b.     Purdue sponsored APF’s Treatment Options: A Guide for People Living
                     with Pain (2007), which instructed that addiction is rare and limited to
                     extreme cases of unauthorized dose escalations, obtaining duplicative
                     opioid prescriptions from multiple sources, or theft. This publication is
                     still available online;

              c.     Endo sponsored a website, Painknowledge.com, which claimed in 2009
                     that “[p]eople who take opioids as prescribed usually do not become
                     addicted.” Another Endo website, PainAction.com, stated “Did you
                     know? Most chronic pain patients do not become addicted to the opioid
                     medications that are prescribed for them;”

              d.     Endo distributed a pamphlet with the Endo logo entitled Living with
                     Someone with Chronic Pain, which stated that: “Most health care
                     providers who treat people with pain agree that most people do not
                     develop an addiction problem.” A similar statement appeared on the Endo
                     website, www.opana.com;

              e.     Janssen reviewed, edited, approved, and distributed a patient education
                     guide entitled Finding Relief: Pain Management for Older Adults (2009),
                     which described as “myth” the claim that opioids are addictive, and
                     asserted as fact that “[m]any studies show that opioids are rarely addictive
                     when used properly for the management of chronic pain;”

              f.     Janssen currently runs a website, Prescriberesponsibly.com (last updated
                     July 2, 2015), which claims that concerns about opioid addiction are
                     “overestimated;”

              g.     Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain &
                     Its Management – which claims that less than 1% of children prescribed
                     opioids will become addicted and that pain is undertreated due to
                     “misconceptions about opioid addiction[].” This publication is still
                     available online; and

              h.     Upon information and belief, detailers for Purdue, Endo, and Janssen in
                     and around Tarrant County minimized or omitted any discussion with
                     doctors of the risk of addiction; misrepresented the potential for opioid
                     abuse with purportedly abuse-deterrent formulations; and routinely did not
                     correct the misrepresentations noted above.

       79.    These claims contradict longstanding scientific evidence, as the FDA and CDC

have conclusively declared. As noted in the 2016 CDC Guideline endorsed by the FDA, there is




PLAINTIFF’S ORIGINAL COMPLAINT                25
“extensive evidence” of the “possible harms of opioids (including opioid use disorder [an

alternative term for opioid addiction]).” 20 The guideline points out that “[o]pioid pain medication

use presents serious risks, including…opioid use disorder” and that “continuing opioid therapy

for 3 months substantially increases risk for opioid use disorder.” 21

        80.     The FDA further exposed the falsity of Defendants’ claims about the low risk of

addiction when it announced changes to the labels for ER/LA opioids in 2013 and for IR opioids

in 2016. In its announcements, the FDA discussed the risks related to opioid use and that IR

opioids are associated with “persistent abuse, addiction, overdose mortality, and risk of NOWS

[neonatal opioid withdrawal syndrome].” 22

        81.     According to the FDA, because of the risks associated with long-term opioid use,

including “the serious risk of addiction, abuse, misuse, overdose, and death,” 23 opioids should be

“reserved for pain severe enough to require opioid treatment and for which alternative treatment

options (e.g., non-opioid analgesics or opioid combination products, as appropriate) are

inadequate or not tolerated.” 24

        82.     The warnings on Defendants’ own FDA-approved drug labels caution that opioids

“exposes users to risks of addiction, abuse and misuse, which can lead to overdose and death”25

and that addiction “can occur in patients appropriately prescribed” 26 opioids.


20
         CDC Guideline for Prescribing Opioids for Chronic Pain – United States 2016, Centers for Disease
Control and Prevention (Mar. 18, 2016).
21
        Id.
22
         FDA Announcement of Enhanced Warnings for Immediate-Release Opioid Pain Medications Related to
Risks of Misuse, Abuse, Addiction, Overdose and Death, Federal Drug Administration (Mar. 22, 2016).
23
        Id.
24
        Id.
25
        See, e.g., OxyContin label and insert at OxyContin.com.
26
        Id.



PLAINTIFF’S ORIGINAL COMPLAINT                         26
       83.     Second, Defendants falsely instructed doctors and patients that signs of addiction

are actually signs of undertreated pain and should be treated by prescribing more opioids.

Defendants called this phenomenon “pseudoaddiction” – a term coined by Dr. David Haddox,

who went to work for Purdue, and popularized by Dr. Russell Portenoy, a KOL for Endo,

Janssen, and Purdue – and claimed that pseudoaddiction is substantiated by scientific evidence.

For example:

               a.     Purdue sponsored Responsible Opioid Prescribing (2007), which taught
                      that behaviors such as “requesting drugs by name,” “demanding or
                      manipulative behavior,” seeing more than one doctor to obtain opioids,
                      and hoarding, are all signs of pseudoaddiction, rather than true
                      addiction. Responsible Opioid Prescribing remains for sale online. The
                      2012 edition continues to teach that pseudoaddiction is real;

               b.     Janssen sponsored, funded, and edited the Let’s Talk Pain website,
                      which in 2009 stated: “pseudoaddiction . . . refers to patient behaviors
                      that may occur when pain is under-treated . . . . Pseudoaddiction is
                      different from true addiction because such behaviors can be resolved
                      with effective pain management;”

               c.     Endo sponsored a National Initiative on Pain Control (NIPC) CME
                      program in 2009 titled Chronic Opioid Therapy: Understanding Risk
                      While Maximizing Analgesia, which promoted pseudoaddiction by
                      teaching that a patient’s aberrant behavior was the result of untreated
                      pain. Endo substantially controlled NIPC by funding NIPC projects;
                      developing, specifying, and reviewing content; and distributing NIPC
                      materials;

               d.     Purdue published a pamphlet in 2011 entitled Providing Relief,
                      Preventing Abuse, which described pseudoaddiction as a concept that
                      “emerged in the literature” to describe the inaccurate interpretation of
                      [drug-seeking behaviors] in patients who have pain that has not been
                      effectively treated;” and

               e.     Purdue sponsored a CME program entitled Path of the Patient,
                      Managing Chronic Pain in Younger Adults at Risk for Abuse. In a role
                      play, a chronic pain patient with a history of drug abuse tells his doctor
                      that he is taking twice as many hydrocodone pills as directed. The
                      narrator notes that because of pseudoaddiction, the doctor should not
                      assume the patient is addicted even if he persistently asks for a specific
                      drug, seems desperate, hoards medicine, or “overindulges in unapproved



PLAINTIFF’S ORIGINAL COMPLAINT                 27
                        escalating doses.” The doctor treats this patient by prescribing a high-
                        dose, long-acting opioid.

       84.     The 2016 CDC Guideline rejects the concept of pseudoaddiction. The Guideline

nowhere recommends that opioid dosages be increased if a patient is not experiencing pain relief.

To the contrary, the Guideline explains that “[p]atients who do not experience clinically

meaningful pain relief early in treatment…are unlikely to experience pain relief with longer-term

use,” 27 and that physicians should “reassess[] pain and function within 1 month” 28 in order to

decide whether to “minimize risks of long-term opioid use by discontinuing opioids”29 because

the patient is “not receiving a clear benefit.”30

       85.     Third, Defendants falsely instructed doctors and patients that addiction risk

screening tools, patient contracts, urine drug screens, and similar strategies allow them to reliably

identify and safely prescribe opioids to patients predisposed to addiction.                   These

misrepresentations were especially insidious because Defendants aimed them at general

practitioners and family doctors who lack the time and expertise to closely manage higher-risk

patients. Defendants’ misrepresentations made these doctors feel more comfortable prescribing

opioids to their patients, and patients more comfortable starting opioid therapy for chronic pain.

For example:

               a.       Endo paid for a 2007 supplement in the Journal of Family Practice written
                        by a doctor who became a member of Endo’s speakers’ bureau in 2010.
                        The supplement, entitled Pain Management Dilemmas in Primary Care:
                        Use of Opioids, emphasized the effectiveness of screening tools, claiming
                        that patients at high risk of addiction could safely receive chronic opioid
                        therapy using a “maximally structured approach” involving toxicology
                        screens and pill counts;

27
       CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
28
       Id.
29
       Id.
30
       Id.



PLAINTIFF’S ORIGINAL COMPLAINT                      28
                 b.     Purdue sponsored a 2011 webinar, Managing Patient’s Opioid Use:
                        Balancing the Need and Risk, which claimed that screening tools, urine
                        tests, and patient agreements prevent “overuse of prescriptions” and
                        “overdose deaths;” and

                 c.     As recently as 2015, Purdue has represented in scientific conferences that
                        “bad apple” patients – and not opioids – are the source of the addiction
                        crisis and that once those “bad apples” are identified, doctors can safely
                        prescribe opioids without causing addiction.

       86.       Once again, the 2016 CDC Guideline confirms these representations are false.

The Guideline notes that there are no studies assessing the effectiveness of risk mitigation

strategies – such as screening tools, patient contracts, urine drug testing, or pill counts – widely

believed by doctors to detect and deter outcomes related to addiction and overdose. 31 As a result,

the Guideline recognizes that doctors should not overestimate the risk screening tools for

classifying patients as high or low risk for opioid addiction because they are insufficient to rule

out the risks of long-term opioid therapy. 32

       87.       Fourth, to underplay the risk and impact of addiction and make doctors feel more

comfortable starting patients on opioids, Defendants falsely claimed that opioid dependence can

easily be addressed by tapering and that opioid withdrawal is not a problem thereby failing to

disclose the increased difficulty of stopping opioids after long-term use.

       88.       For example, a CME sponsored by Endo, entitled Persistent Pain in the Older

Adult, claimed that withdrawal symptoms can be avoided by tapering a patient’s opioid dose by

10%-20% for 10 days. And Purdue sponsored APF’s A Policymaker’s Guide to Understanding

Pain & Its Management, which claimed that “[s]ymptoms of physical dependence can often be

ameliorated by gradually decreasing the dose of medication during discontinuation.”


31
       CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
32
       See id.



PLAINTIFF’S ORIGINAL COMPLAINT                      29
       89.     Defendants deceptively minimized the significant symptoms of opioid

withdrawal, which, as explained in the 2016 CDC Guideline, include drug cravings, anxiety,

insomnia, abdominal pain, vomiting, diarrhea, sweating, tremor, tachycardia (rapid heartbeat),

spontaneous abortion and premature labor in pregnant women, and the unmasking of anxiety,

depression, and addiction – and grossly understated the difficulty of tapering, particularly after

long-term opioid use.

       90.     Yet the 2016 CDC Guideline recognizes that the duration of opioid use and the

dosage of opioids prescribed should be limited to “minimize the need to taper opioids to prevent

distressing or unpleasant withdrawal symptoms,”33 because “physical dependence on opioids is

an expected physiologic response in patients exposed to opioids for more than a few days.” 34

The Guideline further states that “tapering opioids can be especially challenging after years on

high dosages because of physical and psychological dependence” 35 and highlights the

difficulties, including the need to carefully identify “a taper slow enough to minimize symptoms

and signs of opioid withdrawal” 36 and pausing and restarting tapers depending on the patient’s

response.

       91.     The CDC also acknowledges the lack of any “high-quality studies comparing the

effectiveness of different tapering protocols for use when opioid dosage is reduced or opioids are

discontinued.” 37

       92.     Fifth, Defendants falsely claimed that doctors and patients could increase opioid

dosages indefinitely without added risk and failed to disclose the greater risks to patients at

33
       CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
34
       Id.
35
       Id.
36
       CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
37
       Id.



PLAINTIFF’S ORIGINAL COMPLAINT                      30
higher dosages. The ability to escalate dosages was critical to Defendants’ efforts to market

opioids for long-term use to treat chronic pain because, absent this misrepresentation, doctors

would have abandoned treatment when patients built up tolerance and lower dosages did not

provide pain relief. For example:

              a.      Actavis’s predecessor created a patient brochure for Kadian in 2007 that
                      stated, “Over time, your body may become tolerant of your current dose.
                      You may require a dose adjustment to get the right amount of pain relief.
                      This is not addiction.” Upon information and belief, based on Actavis’s
                      acquisition of its predecessor’s marketing materials along with the rights
                      to Kadian, Actavis continued to use these materials in 2009 and beyond;

              b.      Purdue sponsored APF’s Treatment Options: A Guide for People Living
                      with Pain (2007), which claims that some patients “need” a larger dose of
                      an opioid, regardless of the dose currently prescribed. The guide stated
                      that opioids have “no ceiling dose” and are therefore the most appropriate
                      treatment for severe pain. This guide is still available for sale online;

              c.      Endo sponsored a website, painknowledge.com, which claimed in 2009
                      that opioid dosages may be increased until “you are on the right dose of
                      medication for your pain;”

              d.      Endo distributed a pamphlet edited by a KOL entitled Understanding Your
                      Pain: Taking Oral Opioid Analgesics, which was available during the time
                      period of this Complaint on Endo’s website. In Q&A format, it asked “If I
                      take the opioid now, will it work later when I really need it?” The
                      response is, “The dose can be increased. . . . You won’t ‘run out’ of pain
                      relief;”

              e.      Janssen sponsored a patient education guide entitled Finding Relief: Pain
                      Management for Older Adults (2009), which was distributed by its sales
                      force. This guide listed dosage limitations as “disadvantages” of other
                      pain medicines but omitted any discussion of risks of increased opioid
                      dosages;

              f.      Purdue’s In the Face of Pain website promotes the notion that if a patient’s
                      doctor does not prescribe what, in the patient’s view, is a sufficient dosage
                      of opioids, he or she should find another doctor who will;

              g.      Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain &
                      Its Management, which taught that dosage escalations are “sometimes
                      necessary,” even unlimited ones, but did not disclose the risks from high
                      opioid dosages. This publication is still available online;



PLAINTIFF’S ORIGINAL COMPLAINT                 31
               h.       Purdue sponsored a CME entitled Overview of Management Options that
                        is still available for CME credit. The CME was edited by a KOL and
                        taught that NSAIDs and other drugs, but not opioids, are unsafe at high
                        dosages; and

               i.       Purdue presented a 2015 paper at the College on the Problems of Drug
                        Dependence, the “the oldest and largest organization in the US dedicated
                        to advancing a scientific approach to substance use and addictive
                        disorders,” challenging the correlation between opioid dosage and
                        overdose.

       93.     These claims conflict with the scientific evidence, as confirmed by the FDA and

CDC. As the CDC explains in its 2016 Guideline, the “[b]enefits of high-dose opioids for

chronic pain are not established” 38 while the “risks for serious harms related to opioid therapy

increase at higher opioid dosage.”39

       94.     More specifically, the CDC explains that “there is now an established body of

scientific evidence showing that overdose risk is increased at higher opioid dosages.”40

Similarly, there is an “increased risk for opioid use disorder, respiratory depression, and death at

higher dosages.”41 That is why the CDC advises doctors to avoid increasing dosages above 90

morphine milligram equivalents per day.

       95.     The 2016 CDC Guideline reinforces earlier findings announced by the FDA. In

2013, the FDA acknowledged that available data suggested that increasing the opioid dosage

likewise increased certain adverse events. For example, the FDA noted that studies suggest a

positive association between high-dose opioid use and overdoses.

       96.     Finally, Defendants’ deceptive marketing of the so-called abuse-deterrent


38
       CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
39
       Id.
40
       Id.
41
       Id.



PLAINTIFF’S ORIGINAL COMPLAINT                      32
properties of some of their opioids has created false impressions that these opioids can curb

addiction and abuse.

         97.     More specifically, Defendants have made misleading claims about the ability of

their so-called abuse-deterrent opioid formulations to deter addiction and overdose. For example,

Endo’s advertisements for the 2012 reformulation of Opana ER claimed that it was designed to

be crush resistant in a way that suggested it was more difficult to misuse the product. This claim

was false.

         98.     The FDA warned in a 2013 letter that there was no evidence Endo’s design would

provide a reduction in oral, intranasal or intravenous use. 42 Moreover, Endo’s own studies,

which it failed to disclose, showed that Opana ER could still be ground and chewed.

         99.     In a 2016 settlement with the State of New York, Endo agreed not to make

statements in New York that Opana ER was designed to be or is crush resistant. The State found

those statements false and deceptive because there was no difference in the ability to extract the

narcotic from Opana ER.

         100.    Similarly, the 2016 CDC Guideline states that no studies support the notion that

“abuse-deterrent technologies [are] a risk mitigation strategy for deterring or preventing abuse,” 43

noting that the technologies – even when they work – “do not prevent opioid abuse through oral

intake, the most common route of opioid abuse, and can still be abused by non-oral routes.” 44

         101.    These numerous, long-standing misrepresentations of the risks of long-term opioid

use were spread by Defendants and successfully convinced doctors and patients to discount those

risks.

42
         See FDA Statement: Original Opana ER Relisting Determination (May 10, 2013).
43
         CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
44
         Id.



PLAINTIFF’S ORIGINAL COMPLAINT                        33
D.      Defendants Grossly Overstated the Benefits of Chronic Opioid Therapy.

        102.    To convince doctors and patients that opioids should be used to treat chronic

pain, Defendants had to persuade them that there was a significant benefit to long-term opioid

use. But as the 2016 CDC Guideline makes clear, there is “insufficient evidence to determine

the long-term benefits of opioid therapy for chronic pain.”45

        103.    In fact, the CDC found no evidence showing “a long-term benefit of opioids in

pain and function versus no opioids for chronic pain with outcomes examined at least 1 year

later (with most placebo-controlled randomized trials ≤ 6 weeks in duration)” 46 and that other

treatments were more or equally beneficial and less harmful than long-term opioid use. The

FDA, too, has recognized the lack of evidence to support long-term opioid use.

        104.    In 2013, the FDA stated that it was unaware of any studies demonstrating the

safety and efficacy of opioids for long-term use. 47 Despite this lack of studies, Defendants

falsely and misleadingly touted the benefits of long-term opioid use and suggested that these

benefits were supported by scientific evidence. Not only have Defendants failed to correct

these false and deceptive claims, they continue to make them today. For example:

                a.      Actavis distributed an advertisement that claimed that the use of Kadian to
                        treat chronic pain would allow patients to return to work, relieve “stress on
                        your body and your mental health,” and help patients enjoy their lives;

                b.      Endo distributed advertisements that claimed that the use of Opana ER for
                        chronic pain would allow patients to perform demanding tasks like
                        construction work or work as a chef and portrayed seemingly healthy,
                        unimpaired subjects;

                c.      Janssen sponsored and edited a patient education guide entitled Finding
                        Relief: Pain Management for Older Adults (2009) – which states as “a
45
        Id.
46
        Id.
47
        Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Eval. & Res., to Andrew Kolodny, M.D., Pres.
Physicians for Responsible Opioid Prescribing, Re Docket No. FDA-2012-P-0818 (Sept. 10, 2013).



PLAINTIFF’S ORIGINAL COMPLAINT                     34
                 fact” that “opioids may make it easier for people to live normally.” The
                 guide lists expected functional improvements from opioid use, including
                 sleeping through the night, returning to work, recreation, sex, walking, and
                 climbing stairs;

           d.    Purdue ran a series of advertisements for OxyContin in 2012 in medical
                 journals entitled “pain vignettes,” which were case studies featuring
                 patients with pain conditions persisting over several months and
                 recommending OxyContin for them. The ads implied that OxyContin
                 improves patients’ function;

           e.    Responsible Opioid Prescribing (2007), sponsored and distributed by
                 Endo and Purdue, taught that relief of pain by opioids, by itself, improved
                 patients’ function. The book remains for sale online;

           f.    Purdue sponsored APF’s Treatment Options: A Guide for People Living
                 with Pain (2007), which counseled patients that opioids “give [pain
                 patients] a quality of life we deserve.” The guide was available online
                 until APF shut its doors in 2012;

           g.    Endo’s NIPC website painknowledge.com claimed in 2009 that with
                 opioids, “your level of function should improve; you may find you are
                 now able to participate in activities of daily living, such as work and
                 hobbies, that you were not able to enjoy when your pain was worse.”
                 Elsewhere, the website touted improved quality of life (as well as
                 “improved function”) as benefits of opioid therapy. The grant request that
                 Endo approved for this project specifically indicated NIPC’s intent to
                 make misleading claims about function, and Endo closely tracked visits to
                 the site;

           h.    Endo was the sole sponsor, through NIPC, of a series of CMEs titled
                 Persistent Pain in the Older Patient, which claimed that chronic opioid
                 therapy has been “shown to reduce pain and improve depressive
                 symptoms and cognitive functioning.” The CME was disseminated via
                 webcast;

           i.    Janssen sponsored, funded, and edited a website, Let’s Talk Pain, in 2009,
                 which featured an interview edited by Janssen claiming that opioids
                 allowed a patient to “continue to function.” This video is still available
                 today on YouTube;

           j.    Purdue sponsored the development and distribution of APF’s A
                 Policymaker’s Guide to Understanding Pain & Its Management, which
                 claimed that “multiple clinical studies” have shown that opioids are
                 effective in improving daily function, psychological health, and health-
                 related quality of life for chronic pain patients.” The Policymaker’s Guide



PLAINTIFF’S ORIGINAL COMPLAINT            35
                        was originally published in 2011 and is still available online today; and

               k.       Purdue’s, Endo’s, and Janssen’s sales representatives have conveyed and
                        continue to convey the message that opioids will improve patient function.

       105.    These claims find no support in the scientific literature. Most recently, the 2016

CDC Guideline, approved by the FDA, concluded, “There is no good evidence that opioids

improve pain or function with long-term use” 48 and “complete relief of pain is unlikely.”49

(Emphasis added.) The CDC reinforced this conclusion throughout its 2016 Guideline:

               a.       “No evidence shows a long-term benefit of opioids in pain and function
                        versus no opioids for chronic pain with outcomes examined at least 1 year
                        later . . .” 50

               b.       “Although opioids can reduce pain during short-term use, the clinical
                        evidence review found insufficient evidence to determine whether pain
                        relief is sustained and whether function or quality of life improves with
                        long-term opioid therapy;” 51 and

               c.       “[E]vidence is limited or insufficient for improved pain or function with
                        long-term use of opioids for several chronic pain conditions for which
                        opioids are commonly prescribed, such as low back pain, headache, and
                        fibromyalgia.” 52

       106.    The CDC also noted that the risks of addiction and death “can cause distress and

inability to fulfill major role obligations.” 53 As a matter of common sense (and medical

evidence), drugs that can kill patients or commit them to a life of addiction or recovery do not

improve their function and quality of life.

       107.    The 2016 CDC Guideline was not the first time a federal agency repudiated


48
       CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
49
       Id.
50
       Id.
51
       CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
52
       Id.
53
       Id.



PLAINTIFF’S ORIGINAL COMPLAINT                      36
Defendants’ claim that opioids improved function and quality of life. In 2010, the FDA warned

Actavis that “[w]e are not aware of substantial evidence or substantial clinical experience

demonstrating that the magnitude of the effect of the drug [Kadian] has in alleviating pain, taken

together with any drug-related side effects patients may experience…results in any overall

positive impact on a patient’s work, physical and mental functioning, daily activities, or

enjoyment of life.”54

       108.    Defendants also falsely emphasized or exaggerated the risks of competing

products like nonsteroidal anti-inflammatory drugs (“NSAIDs”) so that doctors and patients

would look to opioids first for treating chronic pain. Once again, Defendants’ misrepresentations

contravene pronouncements by and guidance from the FDA and CDC based on the scientific

evidence.

       109.    Consequently, the FDA changed the labels for extended release and long acting

opioids in 2013 and immediate release opioids in 2016 to state that opioids should be used only

as a last resort where alternative treatments like non-opioid drugs are inadequate. And the 2016

CDC Guideline states that NSAIDs, not opioids, should be the first-line treatment for chronic

pain, particularly arthritis and lower back pain.

       110.    In addition, Purdue misleadingly promoted OxyContin as unique among opioids

in providing 12 continuous hours of pain relief with one dose. In fact, OxyContin does not last

for 12 hours – a fact that Purdue has known at all times relevant to this action.

       111.    According to Purdue’s own research, OxyContin wears off in under six hours in

one quarter of patients and in under 10 hours in more than half. The reason is that OxyContin

54
         Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., & Commc’ns, to Doug Boothe,
CEO,             Actavis          Elizabeth           LLC              (Feb.          18,         2010),
http://www.fda.gov/Drugs/GuidanceComplianceRegulatoryInformation/
EnforcementActivitiesbyFDA/WarningLettersandNoticeofViolationLetterstoPharmaceuticalCompanies/
ucm259240.htm.



PLAINTIFF’S ORIGINAL COMPLAINT                      37
tablets release approximately 40% of their active medicine immediately, after which release

tapers. Although the patient experiences a powerful initial response, there is little or no pain

relief at the end of the dosing period because less medicine is released.

       112.    This phenomenon is known as “end of dose” failure, and the FDA found in 2008

that a substantial number of chronic pain patients taking OxyContin experience it.

       113.    This “end of dose” failure not only renders Purdue’s promise of 12 hours of relief

false and deceptive, it also makes OxyContin more dangerous because the declining pain relief

patients experience toward the end of each dosing period drives them to take more OxyContin

before the next dosing period begins, quickly increasing the amount of drug they are taking and

spurring growing dependence.

       114.    Purdue’s competitors were aware of this problem. For example, Endo ran

advertisements for Opana ER referring to “real” 12-hour dosing. Nevertheless, Purdue falsely

promoted OxyContin as if it were effective for a full 12 hours. Upon information and belief,

Purdue’s sales representatives continue to tell doctors in and around Tarrant County that

OxyContin lasts a full 12 hours.

E.     Defendants also engaged in Other Unlawful, Unfair, and Fraudulent Misconduct.

       115.    Defendants herein participated in illicit and unlawful prescribing of its drugs. For

example, Purdue did not report illegal prescribing of OxyContin until years after law

enforcement shut down a Los Angeles clinic that prescribed more than 1.1 million OxyContin

tablets. In doing so, Purdue protected its own profits at the expense of public health and safety.

       116.     The State of New York found that Endo failed to require sales representatives to

report signs of addiction, diversion, and inappropriate prescribing; paid bonuses to sales

representatives for detailing prescribers who were subsequently arrested or convicted for illegal




PLAINTIFF’S ORIGINAL COMPLAINT                   38
prescribing; and failed to prevent sales representatives from visiting prescribers whose suspicious

conduct had caused them to be placed on a no-call list.

F.     Defendants Targeted Susceptible Prescribers and Vulnerable Patient Populations.

       117.    As a part of their deceptive marketing scheme, Defendants identified and targeted

susceptible prescribers and vulnerable patient populations in the U.S. and, upon information and

belief, in and around Tarrant County. For example, Defendants focused their deceptive marketing

on primary care doctors, who were more likely to treat chronic pain patients and prescribe

opioids, but were less likely to be educated about treating pain and the risks and benefits of

opioids.

       118.    Defendants also targeted vulnerable patient populations like the elderly and

veterans, who tend to suffer from chronic pain. Defendants targeted these vulnerable patients

even though the risks of long-term opioid use were significantly greater for them.

       119.    For example, the 2016 CDC Guideline observes that existing evidence shows that

elderly patients taking opioids suffer from elevated fall and fracture risks, greater risk of

hospitalization, and increased vulnerability to adverse drug effects and interactions.         The

Guideline therefore concludes that there are “special risks of long-term opioid use for elderly

patients” and recommends that doctors use “additional caution and increased monitoring” to

minimize the risks of opioid use in elderly patients.

G.     Although Defendants knew that their Marketing of Opioids was False and Deceptive,
       they Fraudulently Concealed their Misconduct.

       120.    Defendants, both individually and collectively, made, promoted, and profited

from their misrepresentations about the risks and benefits of opioids for chronic pain even though

they knew their misrepresentations were false and deceptive. The history of opioids, as well as

research and clinical experience over the last 20 years, established that opioids were highly



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addictive and responsible for a long list of very serious adverse outcomes.

       121.      Not only did the FDA and other regulators warn Defendants, but Defendants had

access to scientific studies, detailed prescription data, and reports of adverse events, including

reports of addiction, hospitalization, and deaths – all of which made clear the harms from long-

term opioid use, including the suffering from addiction, overdoses, and death in alarming numbers

in patients using opioids.

       122.      More recently, the FDA and CDC have issued pronouncements based on the

medical evidence that conclusively expose the known falsity of Defendants’ misrepresentations,

and Endo and Purdue have recently entered agreements prohibiting them from making some of

the same misrepresentations described herein in New York.

       123.      Specifically, three current and former executives from Purdue plead guilty in

2007 to criminal charges that they misled regulators, doctors, and patients about OxyContin’s

risk of addiction. 55 In pleading guilty to misbranding charges, Purdue admitted it had

fraudulently marketed OxyContin as a drug less prone to addiction and as having fewer side

effects than other opioids. 56 In reality, unlike other opioids, OxyContin contained pure

oxycodone without any other ingredients, which made it a powerful narcotic despite its time-

release design that Purdue touted as ameliorating its addictive potential. 57

       124.      Moreover, Defendants took steps to avoid detection of and to fraudulently conceal

their deceptive marketing and unlawful, unfair, and fraudulent conduct.             For example,

Defendants disguised their own role in the deceptive marketing of chronic opioid therapy by

funding and working through third parties like Front Groups and KOLs.
55
         See Barry Meier, “In Guilty Plea, OxyContin Maker to Pay $600 Million,” (May 10, 2007),
http://www.nytimes.com/2007/05/10/business/11drug-web.html.
56
       See id.
57
       See id.



PLAINTIFF’S ORIGINAL COMPLAINT                   40
        125.    Finally, Defendants manipulated their promotional materials and the scientific

literature to make it appear that these items were accurate, truthful, and supported by objective

evidence when they were not.

        126.    Thus, Defendants successfully concealed from the medical community and

patients facts sufficient to arouse suspicion of the claims Tarrant County now asserts. Tarrant

County did not know of the existence or scope of Defendants’ industry-wide fraud and could not

have acquired such knowledge earlier through the exercise of reasonable diligence.

H.      By Increasing Opioid Prescriptions and Use, Defendants’ Deceptive Marketing
        Scheme has fueled the Opioid Epidemic and Devastated Tarrant County
        Communities.

        127.    Defendants’ misrepresentations deceived doctors and patients about the risks and

benefits of long-term opioid use. Studies reveal that many doctors and patients are unaware of or

do not understand the risks or benefits of opioids. Indeed, patients often report that they were

not warned they might become addicted to opioids prescribed to them. As reported in January

2016, a 2015 survey of more than 1,000 opioid patients found that 4 out of 10 were not told

opioids were potentially addictive. 58

        128.    While Defendants may claim the federal government authorized the amount of

annual prescription opioids sold, they know in truth that several Defendants have successfully

used their organized money and influence to render the federal government’s enforcement

agency, the Drug Enforcement Administration, virtually powerless to interrupt the over-supply of

prescription opioid drugs.

        129.    Upon information and belief, Defendants’ deceptive marketing scheme caused



58
         Hazelden Betty Ford Foundation, Missed Questions, Missed Opportunities (Jan. 27, 2016), available at
http://www.hazeldenbettyford.org/about-us/news-and-media/pressrelease/doctors-missing-questions-that-could-
prevent-opioid-addiction.



PLAINTIFF’S ORIGINAL COMPLAINT                       41
and continues to cause doctors in and around Tarrant County to prescribe opioids for chronic

pain conditions such as back pain, headaches, arthritis, and fibromyalgia. Absent Defendants’

deceptive marketing scheme, these doctors would not have been able to over prescribe opioids or

become embroiled in pill mills that negatively impacted residents of Tarrant County.

        130.    Defendants’ deceptive marketing scheme also caused and continues to cause

patients to purchase and use opioids for their chronic pain believing they are safe and effective.

Absent Defendants’ deceptive marketing scheme, fewer patients would be using opioids long-

term to treat chronic pain, and those patients using opioids would be using less of them.

        131.    Defendants’ deceptive marketing has caused and continues to cause the

prescribing and use of opioids to explode. Indeed, this dramatic increase in opioid prescriptions

and use corresponds with the dramatic increase in Defendants’ spending on their deceptive

marketing scheme.        Defendants’ spending on opioid marketing totaled approximately $91

million in 2000. By 2011, that spending tripled to $288 million.

        132.    The escalating number of opioid prescriptions written by doctors who were

deceived by Defendants’ deceptive marketing scheme is the cause of a correspondingly dramatic

increase in opioid addiction, overdose, and death throughout the U.S. and Tarrant County.

        133.    Scientific evidence demonstrates a strong correlation between opioid prescriptions

and becoming addicted to opioids. In a 2016 report, the CDC explained that prescribing opioids

has quadrupled since 1999, which has resulted in a parallel increase in opioid overdoses.59




59
        CDC. National Vital Statistics System, Mortality. CDC WONDER. Atlanta, GA: US Department of Health
and Human Services, CDC; 2016. https://wonder.cdc.gov/; Rudd RA, Seth P, David F, Scholl L. Increases in Drug
and Opioid-Involved Overdose Deaths — United States, 2010–2015. MMWR Morb Mortal Wkly Rep. ePub: 16
December 2016.



PLAINTIFF’S ORIGINAL COMPLAINT                       42
Indeed, there has been a two-third increase in overdose deaths from using opioids since 2000.60

For these reasons, the CDC concluded that efforts to rein in the prescribing of opioids for chronic

pain are critical “to reverse the cycle of opioid pain medication misuse that contributes to the

opioid overdose epidemic.” 61

        134.     Due to the increase in opioid overdoses, first responders such as police officers,

have been and will continue to be in the position to assist people experiencing opioid-related

overdoses. 62 In 2016, “over 1,200 law enforcement departments nationwide carried naloxone in

an effort to prevent opioid-related deaths.” 63

        135.     Upon information and belief, Defendants’ deceptive marketing scheme has also

detrimentally impacted children in Tarrant County. Overprescribing opioids for chronic pain has

made the drugs more accessible to school-aged children, who come into contact with opioids

after they have been prescribed to friends or relatives in the same household.

        136.     Upon information and belief, Defendants’ conduct has adversely affected Tarrant

County’s child protection agencies in the number of children in foster care driven by parental

drug addiction. Children with parents addicted to drugs tend to stay in foster care longer, and

they often enter the system having experienced significant trauma, which makes these cases

more expensive for counties like Tarrant County.

        137.     Upon information and belief, opioid addiction is a significant reason that Tarrant

County residents seek treatment for substance dependence. A significant number of admissions

60
        National Vital Statistics System, Mortality file and appearing Center for Disease Control and Prevention
Morbidity and Mortality Weekly Report, January 1, 2006 / 64(50); 1378-82, Increases in Drug and Opioid Deaths –
United States, 2000-2014.
61
        CDC Guideline for Prescribing Opioids for Chronic Pain, supra; see also Rudd RA, Seth P, David F,
Scholl L. Increases in Drug and Opioid-Involved Overdose Deaths — United States, 2010–2015. MMWR Morb
Mortal Wkly Rep. ePub: 16 December 2016.
62
        Opinion of the Attorney General of Texas, KP-0168 (Oct. 4, 2017).
63
        Id. citing http://www.nchrc.org/law-enforcement/us-law-enforcement-who-carry-naloxone/.



PLAINTIFF’S ORIGINAL COMPLAINT                        43
for drug addiction were associated with a primary diagnosis of opiate addiction or dependence.

         138.     Upon information and belief, Defendants’ creation, through false and deceptive

advertising and other unlawful and unfair conduct, of a virtually limitless opioid market has

significantly harmed Tarrant County communities. Defendants’ success in extending the market

for opioids to new patients and chronic pain conditions has created an abundance of drugs

available for non-medical and criminal use and fueled a new wave of addiction and injury. It has

been estimated that 60% of the opioids to which people are addicted come, directly or indirectly,

through doctors’ prescriptions.64

         139.     Law enforcement agencies have increasingly associated prescription drug

addiction with violent and property crimes. Despite strict federal regulation of prescription

drugs, local law enforcement agencies are faced with increasing diversion from legitimate

sources for illicit purposes, including doctor shopping, forged prescriptions, falsified pharmacy

records, and employees who steal from their place of employment. The opioid epidemic has

prompted a growing trend of crimes against pharmacies including robbery and burglary. This

ongoing diversion of prescription narcotics creates a lucrative marketplace.

         140.     The rise in opioid addiction caused by Defendants’ deceptive marketing scheme

has also resulted in an explosion in heroin use. For example, heroin use has more than doubled

in the past decade among adults aged 18 to 25 years. 65 Moreover, heroin-related overdoses in the

United States has more than quadrupled since 2010. 66


64
         Nathaniel P. Katz, Prescription Opioid Abuse: Challenges and Opportunities for Payers, Am. J. Managed
Care (Apr. 19 2013), at 5 (“The most common source of abused [opioids] is, directly or indirectly, by prescription.”),
http://www.ajmc.com/publications/issue/2013/2013-1-vol19-n4/Prescription-Opioid-Abuse-Challenges-and-
Opportunities-for-Payers.
65
        Centers for Disease Control and Prevention. Vital Signs: Today’s Heroin Epidemic – More People at
Risk, Multiple Drugs Abused. (https://www.cdc.gov/vitalsigns/heroin/index.html). MMWR 2015.
66
         https://www.cdc.gov/vitalsigns/heroin/index.html



PLAINTIFF’S ORIGINAL COMPLAINT                           44
       141.    The costs and consequences of opioid addiction are staggering. For example, in

2007, the cost of healthcare due to opioid addiction and dependence was estimated at $25 billion,

the cost of criminal justice was estimated at $5.1 billion, and the cost of lost workplace

productivity was estimated at $25.6 billion.

       142.    Consequently, prescription opioid addiction and overdose have an enormous

impact on the health and safety of individuals, as well as communities at large, because the

consequences of this epidemic reach far beyond the addicted individual.

       143.    Upon information and belief, some of the repercussions for residents of Tarrant

County include job loss, loss of custody of children, physical and mental health problems,

homelessness and incarceration, which result in instability in communities often already in

economic crisis and contributes to increased demand on community services such as hospitals,

courts, child services, treatment centers, and law enforcement.

       144.    Defendants knew and should have known about these harms that their deceptive

marketing has caused and continues to cause and will cause in the future. Defendants closely

monitored their sales and the habits of prescribing doctors. Their sales representatives, who

visited doctors and attended CMEs, knew which doctors were receiving their messages and how

they were responding.

       145.    Defendants also had access to and carefully watched government and other data

that tracked the explosive rise in opioid use, addiction, injury, and death. Defendants not only

knew, but intended that their misrepresentations would persuade doctors to prescribe and

encourage patients to use their opioids for chronic pain.

       146.    Defendants’ actions are neither permitted nor excused by the fact that their drug

labels may have allowed, or did not exclude, the use of opioids for chronic pain. FDA approval




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of opioids for certain uses did not give Defendants license to misrepresent the risks and benefits

of opioids. Indeed, Defendants’ misrepresentations were directly contrary to pronouncements

by, and guidance from, the FDA based on the medical evidence and their own labels.

       147.    Nor is Defendants’ causal role broken by the involvement of doctors. Defendants’

marketing efforts were ubiquitous and highly persuasive. Their deceptive messages tainted

virtually every source doctors could rely on for information and prevented them from making

informed treatment decisions. Defendants also hijacked what doctors wanted to believe –

namely, that opioids represented a means of relieving their patients’ suffering and of practicing

medicine more compassionately.

       148.    Upon information and belief, Defendants’ actions and omissions were each a

cause-in-fact of Tarrant County’s past and future damages.         Upon information and belief,

Defendants’ wrongful conduct caused injuries to Tarrant County in the past, continues to cause

injuries to Tarrant County, and will continue to cause injuries to Tarrant County in the future.

Future damages include, but are not limited to, additional resources for counseling and

medication assisted treatment of addicts, medical treatment for overdoses, life skills training for

adolescents, increased law enforcement, and additional resources to treat the psychological

effects of opioids and the underlying conditions that make people susceptible to opioid addiction.

I.     Defendants’ Fraudulent Marketing Has Led To Record Profits.

       149.    While using opioids has taken a toll on Tarrant County and its residents,

Defendants have realized blockbuster profits. In 2014 alone, opioids generated $11 billion in

revenue for drug companies like Defendants. Indeed, financial information indicates that each

Defendant experienced a material increase in sales, revenue, and profits from the false and

deceptive advertising and other unlawful and unfair conduct described above.




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                        V. FIRST CAUSE OF ACTION: PUBLIC NUISANCE
                                AGAINST ALL DEFENDANTS

        150.       Tarrant County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Complaint as though fully alleged herein.

        151.       Upon information and belief, Defendants knowingly encouraged doctors in and

around Tarrant County to prescribe, and residents to use, highly-addictive opioids for chronic

pain even though Defendants knew using opioids had a high risk of addiction and reduced

quality of life.

        152.       Upon information and belief, by doing so, Defendants purposefully interfered

with Tarrant County’s public health, public safety, public peace, public comfort, and public

convenience.

        153.       Upon information and belief, Defendants, individually and in concert with each

other, have contributed to and/or assisted in creating and maintaining a condition that is harmful

to the health and safety of Tarrant County residents and/or unreasonably interferes with the peace

and comfortable enjoyment of life in violation of Texas law.

        154.       The public nuisance created by Defendants’ actions is substantial and

unreasonable – it has caused and continues to cause significant harm to the community – and the

harm inflicted outweighs any offsetting benefit.

        155.       The staggering rates of opioid use resulting from Defendants’ marketing efforts

have caused, and continues to cause, harm to the community including, but not limited to:

                   a.     Upwards of 30% of all adults use opioids. These high rates of use have led
                          t o unnecessary opioid addiction, overdose, injuries, and deaths;

                   b.     Children have been exposed to opioids prescribed to family members or
                          others resulting in injury, addiction, and death. Upon information and
                          belief, easy access to prescription opioids has made opioids a recreational
                          drug of choice among Tarrant County teenagers; opioid use among



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                 teenagers is only outpaced by marijuana use. Even infants have been born
                 addicted to opioids due to prenatal exposure causing severe withdrawal
                 symptoms and lasting developmental impacts;

           c.    Upon information and belief, residents of Tarrant County, who have never
                 taken opioids, have endured both the emotional and financial costs of
                 caring for loved ones addicted to or injured by opioids and the loss of
                 companionship, wages, or other support from family members who have
                 used, become addicted to, overdosed on, or been killed by opioids;

           d.    Upon information and belief, more broadly, opioid use and addiction have
                 driven Tarrant County residents’ health care costs higher;

           e.    Employers have lost the value of productive and healthy employees who
                 have suffered from adverse consequences from opioid use;

           f.    Defendants’ success in extending the market for opioids to new patients
                 and chronic conditions has created an abundance of drugs available for
                 criminal use and fueled a new wave of addiction and injury. Defendants’
                 scheme created both ends of a new secondary market for opioids –
                 providing both the supply of narcotics to sell and the demand of addicts to
                 buy them;

           g.    This demand has created additional illicit markets in other opiates,
                 particularly heroin. The low cost of heroin has led some of those who
                 initially become addicted to prescription opioids to migrate to cheaper
                 heroin, fueling a new heroin epidemic in the process;

           h.    Upon information and belief, diverting opioids into secondary, criminal
                 markets and increasing the number of individuals who are addicted to
                 opioids has increased the demands on emergency services and law
                 enforcement in Tarrant County;

           i.    All of Defendants’ actions have caused significant harm to the community
                 – in lives lost; addictions endured; the creation of an illicit drug market
                 and all its concomitant crime and costs; unrealized economic productivity;
                 and broken families and homes;

           j.    Upon information and belief, these harms have taxed the human, medical,
                 public health, law enforcement, and financial resources of Tarrant County;
                 and

           k.    Defendants’ interference with the comfortable enjoyment of life of a
                 substantial number of people is entirely unreasonable because there is
                 limited social utility to opioid use and any potential value is outweighed
                 by the gravity of harm inflicted by Defendants’ actions.



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       156.    Defendants knew, or should have known, that promoting opioid use would create

a public nuisance in the following ways:

               a.         Upon information and belief, Defendants have engaged in massive
                          production, promotion, and distribution of opioids for use by the citizens
                          of Tarrant County;

               b.         Defendants’ actions created and expanded the market for opioids,
                          promoting its wide use for pain management;

               c.         Defendants misrepresented the benefits of opioids for chronic pain and
                          fraudulently concealed, misrepresented, and omitted the serious adverse
                          effects of opioids, including the addictive nature of the drugs; and

               d.         Defendants knew or should have known that their promotion would lead
                          to addiction and other adverse consequences that the larger community
                          would suffer as a result.

       157.    Upon information and belief, Defendants’ actions were, at the least, a substantial

factor in doctors and patients not accurately assessing and weighing the risks and benefits of

opioids for chronic pain thereby causing opioids to become widely available and used in Tarrant

County.

       158.    Without Defendants’ actions, opioid use would not have become so widespread

and the enormous public health hazard of opioid addiction would not have existed and could

have been averted.

       159.    Upon information and belief, the health and safety of the citizens of Tarrant

County, including those who use, have used, or will use opioids, as well as those affected by

opioid users, is a matter of great public interest and legitimate concern to Tarrant County’s

citizens and residents.

       160.    The public nuisance created, perpetuated, and maintained by Defendants can be

abated and further reoccurrence of such harm and inconvenience can be prevented.




PLAINTIFF’S ORIGINAL COMPLAINT                    49
       161.      Upon information and belief, Defendants’ conduct has affected and continues to

affect a considerable number of people within Tarrant County and is likely to continue to cause

significant harm to patients who take opioids, their families, and the community at large.

       162.      Each Defendant created or assisted in creating the opioid epidemic, and each

Defendant is jointly and severally liable for its abatement. Furthermore, each Defendant should

be enjoined from continuing to create, perpetuate, or maintain said public nuisance in Tarrant

County.

                VI .   SECOND CAUSE OF ACTION: COMMON LAW FRAUD
                               AGAINST ALL DEFENDANTS

       163.      Tarrant County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Complaint as though fully alleged herein.

       164.      At all relevant and material times, Defendants expressly and/or impliedly

warranted that opioids were safe, of merchantable quality, and fit for use.

       165.      Defendants’ superior knowledge and expertise, their relationship of trust and

confidence with doctors and the public, their specific knowledge regarding the risks and dangers

of opioids, and their intentional dissemination of promotional and marketing information about

opioids for the purpose of maximizing sales, each gave rise to the affirmative duty to

meaningfully disclose and provide all material information about the risks and harms associated

with opioids.

       166.      At all times herein mentioned, Defendants, individually and acting through their

employees and agents, and in concert with each other, fraudulently represented to physicians

who Defendants knew would justifiably rely on Defendants’ representations that opioids were

safe and effective for treating chronic pain.

       167.      Upon information and belief, Defendants’ false representations were fraudulently



PLAINTIFF’S ORIGINAL COMPLAINT                  50
made, with the intent or purpose that healthcare providers and patients would justifiably rely

upon them, leading to the prescription, administration, filling, purchasing, and consumption of

opioids in Tarrant County.

       168.    Defendants’ deliberate misrepresentations and/or concealment, suppression, and

omission of material facts as alleged herein include, but are not limited to:

               a.      Making false and misleading claims regarding the known risks of the
                       addictive nature of opioids and suppressing, failing to disclose, and
                       mischaracterizing the addictive nature of opioids and in concomitant
                       costs, such as overdoses, deaths, and heroin addiction;

               b.      Making false and misleading written and oral statements that opioids are
                       more effective than traditional pain killers for chronic pain, or effective at
                       all and/or omitting material information showing that opioids are no more
                       effective than other non-addictive drugs for chronic pain;

               c.      Issuing false and misleading warnings and/or failing to issue adequate
                       warnings concerning the risks and dangers of using opioids;

               d.      Making false and misleading claims downplaying the risk of addiction
                       when using opioids and/or setting forth guidelines that would purportedly
                       identify addictive behavior; and

               e.      Making false and misleading misrepresentations concerning the safety,
                       efficacy and benefits of opioids without full and adequate disclosure of
                       the underlying facts which rendered such statements false and misleading.

       169.    Defendants willfully, wantonly, and recklessly disregarded their duty to provide
truthful representations regarding the safety and risk of opioids.
       170.    Defendants made these misrepresentations with the intent that the healthcare
community and patients located wherever these opioid drugs were sold or consumed would rely
upon them.
       171.    Defendants’ misrepresentations were made with the intent of defrauding and
deceiving the medical community and consumers to induce and encourage the sale of opioids.




PLAINTIFF’S ORIGINAL COMPLAINT                   51
       172.    Upon information and belief, Defendants’ fraudulent representations evidence
their callous, reckless, willful, and depraved indifference to the health, safety, and welfare of
consumers living in Tarrant County.
       173.    Defendants omitted, misrepresented, suppressed and concealed material facts
concerning the dangers and risk of injuries associated with the use of opioids, as well as the fact
that the product was unreasonably dangerous.
       174.    Upon information and belief, Defendants’ purpose was willfully blind to, ignored,
downplayed, avoided, and/or otherwise understated the serious nature of the risks associated with
the use of opioids.
       175.    Upon information and belief, the treating medical community and consumers in
Tarrant County did not know that Defendants’ representations were false and/or misleading and
justifiably relied on them.
       176.    Defendants had sole access to material facts concerning the dangers and
unreasonable risks of opioids, which they intentionally concealed.
       177.    Upon information and belief, as a direct and proximate result of Defendants’
fraudulent misrepresentations and intentional concealment of facts, upon which the medical
community and consumers in Tarrant County reasonably relied, Tarrant County suffered actual
and punitive damages.

                      VII.    THIRD CAUSE OF ACTION: NEGLIGENCE
                                AGAINST ALL DEFENDANTS

       178.    Tarrant County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Complaint as though fully alleged herein.

       179.    Manufacturing Defendants have a duty to exercise reasonable care in marketing

their opioids to physicians treating residents of Tarrant County and Tarrant County residents.

Manufacturing Defendants have breached their duty by knowingly and fraudulently

misrepresenting the benefits of, and downplaying the risks of, opioids for chronic pain.

       180.    Manufacturing Defendants have used deceitful marketing ploys, KOLs, Front


PLAINTIFF’S ORIGINAL COMPLAINT                  52
Groups, and other schemes to increase profits at the cost of public health causing an opioid

epidemic. Manufacturing Defendants have acted willfully, wantonly, and maliciously.

       181.    Likewise, Distributor Defendants have a duty to exercise ordinary care in

distributing opioids. Distributor Defendants have breached their duty by failing to prevent or

reduce the distribution of opioids, or to report the increase in the distribution and/or sale of

opioids.

       182.    Distributor Defendants have intentionally failed to prevent or reduce the

distribution of opioids, or to report any increases in the sale of opioids, so that they could increase

profits and receive rebates or kick-backs from Manufacturing Defendants. Distributor Defendants

have acted willfully, wantonly, and maliciously.

       183.    Upon information and belief, as a proximate result, Manufacturing and Distributor

Defendants and their agents have caused Tarrant County to incur excessive costs to treat the

opioid epidemic in its county, including but not limited to increased costs of social services,

health systems, law enforcement, judicial system, and treatment facilities.

       184.    Tarrant County and its residents are therefore entitled to actual and punitive

damages.

              VIII. FOURTH CAUSE OF ACTION: GROSS NEGLIGENCE
                          AGAINST ALL DEFENDANTS

       185.    Tarrant County incorporates the allegations within all prior paragraphs within this

Complaint as if they were fully set forth herein.

       186.    Defendants’ marketing scheme to optimize profits by misrepresenting and falsely

touting opioids as the panacea to chronic pain was done intentionally.

       187.    Defendants’ hiring of KOLs, Front Groups, and others to spread their fraudulent

message that opioids were useful and beneficial for chronic pain was grossly negligent and done



PLAINTIFF’S ORIGINAL COMPLAINT                      53
with conscious indifference to the rights, safety, and welfare of others.

        188.    Each Defendant’s actions and omissions as described herein, singularly or in

combination with each other, involved an extreme degree of risk, considering the probability and

magnitude of the potential harm to others. Each Defendant’s actions and omissions described

herein was done with actual and subjective awareness of the risk involved, but nevertheless

demonstrated a conscious indifference to the rights, safety, and welfare of others.

        189.    Upon information and belief, at every stage, Defendants knew or should have

known that their conduct would create an unreasonable risk of physical harm to others, including

Tarrant County and its residents, and should be held liable in punitive and exemplary damages to

Tarrant County.

                            IX.  FIFTH CAUSE OF ACTION:
                        TEXAS CONTROLLED SUBSTANCES ACT (“TCSA”)
                            AGAINST DISTRIBUTOR DEFENDANTS

        190.      Tarrant County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Complaint as though fully alleged herein.

        191.    Distributor Defendants have knowingly distributed, delivered, administered, or

dispensed a controlled substance in violation of the Texas Controlled Substances Act

§481.128(a)(1) by deceiving practitioners into prescribing, dispensing, delivering, or

administering a controlled substance, or causing a controlled substance to be administered when

there is no valid medical purpose. Tex. Health & Safety Code §481.071.

        192.    As alleged herein, each Distributor Defendant, at all times relevant to this

Complaint, violated the Texas Controlled Substance Act by making deceptive representations

about using opioids to treat chronic pain. Each Distributor Defendant also omitted or concealed

material facts and failed to correct prior misrepresentations and omissions about the risks and




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benefits of opioids. Each Distributor Defendant’s omissions rendered even their seemingly

truthful statements about opioids deceptive.

        193.     Upon information and belief, Distributor Defendants’ deceptive representations

and concealments were reasonably calculated to deceive practitioners treating Tarrant County

residents into prescribing opioids without any valid medical purpose, and Distributor Defendants

continue to do so to this day.

        194.     As a direct and proximate cause of Distributor Defendants’ deceptive conduct,

Tarrant County should be awarded civil penalties pursuant to the Texas Controlled Substances

Act.

                X.     SIXTH CAUSE OF ACTION: UNJUST ENRICHMENT
                              AGAINST ALL DEFENDANTS

        195.     Tarrant County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Complaint as though fully alleged herein.

        196.     Upon information and belief, as an expected and intended result of their

conscious wrongdoing as set forth in this Complaint, Defendants have profited and benefited

from opioid purchases made by Tarrant County and its residents.

        197.     Upon information and belief, when Tarrant County and its residents purchased

opioids, they expected that Defendants had provided necessary and accurate information

regarding those risks. Instead, Defendants had misrepresented the material facts regarding the risks and

benefits of opioids.

        198.     Upon information and belief, Defendants have been unjustly enriched at the

expense of Tarrant County, and Tarrant County is therefore entitled to damages to be determined

by the jury.




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                    XI.  SEVENTH CAUSE OF ACTION:
         VIOLATIONS OF THE RACKETERR INFLUENCED AND CORRUPT
             ORGANIZATIONS ACT (“RICO”), 18 U.S.C. § 1961, et seq.
                          AGAINST ALL DEFENDANTS

       199.    Tarrant County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Complaint as though fully alleged herein.

       200.    This claim is brought by the County of Tarrant against each Defendant for actual

damages, treble damages, and equitable relief under and for violations of 18 U.S.C. § 1961, et

seq.

       201.    Section 1962(c) makes it “unlawful for any person employed by or associated

with any enterprise engaged in, or the activities of which affect, interstate or foreign commerce,

to conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs through

a pattern of racketeering activity . . . ” 18 U.S.C. §1962(c).

       202.    Each Defendant conducted the affairs of an enterprise through a pattern of

racketeering activity, in violation of 18 U.S.C. §1962(c) and §1962(d).

       203.    Each Defendant herein participated in an Enterprise for purposes of 18 U.S.C. §

1961(3) that created and maintained systematic links for a common purpose: to sell and

distribute drugs, specifically opioids, that have little or no demonstrated efficacy for the pain

they are purported to treat in the majority of persons that obtain prescriptions for them.

       204.    To accomplish this purpose, the Enterprise engaged in a sophisticated, well-

developed, and fraudulent marketing scheme designed to increase the prescription rate for the

sale and distribution of Defendants’ opioids and popularize the misunderstanding that opioids are

effective for chronic pain and the risk of addiction is low (“the Scheme”).

       205.    At all relevant times, each Defendant was aware of the Enterprise’s conduct, was



PLAINTIFF’S ORIGINAL COMPLAINT                    56
a knowing and willing participant in that conduct, and reaped profits from that conduct in the

form of increased sales, distributions, and prescriptions of opioids.

       206.    In fact, Front Groups and KOLs received direct payments from Manufacturer

Defendants in exchange their role in the Enterprise, and to advance the Enterprise’s fraudulent

marketing scheme whereas Distributor Defendants received kick-backs from Manufacturing

Defendants if they reached particular monthly goals.

       207.    The Enterprise engaged in, and its activities affected, interstate and foreign

commerce because it involved commercial activities across state boundaries, including but not

limited to: (1) marketing, promotion, and advertisement of Defendants’ opioid medicines; (2)

advocacy at the state and federal level for change in the law governing the use, prescription, and

distribution of Defendants’ opioids; (3) issuing prescriptions and prescription guidelines for

Defendants’ opioids; and (4) issuing fees, bills, and statements demanding payment for

prescriptions of Defendants’ opioids.

       208.    The persons engaged in the Enterprise are systematically linked through

contractual relationships, financial ties, and continuing coordination of activities, as spearheaded

by the Manufacturer Defendants.

       209.    The Enterprise functioned as a continuing unit for the purposes of executing the

Scheme and when issues arose during the Scheme, each member of the Enterprise agreed to take

actions to hide the Scheme and the existence of the Enterprise.

       210.    Each Defendant participated in the operation and management of the Enterprise

by directing its affairs as described herein.

       211.    While Defendants participated in, and are members of, the Enterprise, they have

an existence separate from the Enterprise, including distinct legal statuses, affairs, offices and




PLAINTIFF’S ORIGINAL COMPLAINT                   57
roles, officers, directors, employees, and individual personhood.

       212.    Defendants, singularly or in combination with another, orchestrated the affairs of

the Enterprise and exerted substantial control over the Enterprise by, at least: (1) making

misleading statements about the purported benefits, efficacy, and risks of opioids to doctors,

patients, the public, and others, in the form of telephonic and electronic communications, CME

programs, medical journals, advertisements, and websites; (2) employing sales representatives or

detailers to promote the use of opioid medications; (3) purchasing and utilizing sophisticated

marketing data (e.g., IMS data) to coordinate and refine the Scheme; (4) employing doctors to

serve as speakers at or attend all-expense paid trips to programs emphasizing the benefits of

prescribing opioid medications; (5) funding, controlling, and operating the Front Groups to target

doctors, patients, and lawmakers and provide a veneer of legitimacy to the Manufacturer

Defendants’ Scheme; (6) retaining KOLs to promote the use of their opioid medicines and (7)

concealing the true nature of their relationship with the other members of the Enterprise,

including the Front Groups and the KOLs.

       213.    To carry out, or attempt to carry out, the scheme to defraud, the members of the

Enterprise, each of whom is a person associated-in-fact with the Enterprise, did knowingly

conduct or participate, directly or indirectly, in the affairs of the Enterprise through a pattern of

racketeering activity within the meaning of 18 U.S.C. §§1961(1), 1961(5) and 1962(c), and

employed the use of the mail and wire facilities, in violation of 18 U.S.C. §1341 (mail fraud) and

§1343 (wire fraud).

       214.    Specifically, the members of the Enterprise have committed, conspired to commit,

and/or aided and abetted in the commission of, at least two predicate acts of racketeering activity

(i.e., violations of 18 U.S.C. §§1341 and 1343), within the past ten years.




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       215.    The Enterprise’s predicate acts of racketeering (18 U.S.C. §1961(1)) include, but

are not limited to:

           a. Mail Fraud: The members of the Enterprise violated 18 U.S.C. §1341 by sending
              or receiving, or by causing to be sent and/or received, fraudulent materials via
              U.S. mail or commercial interstate carriers for the purpose of selling drugs,
              specifically opioids, that have little or no demonstrated efficacy for the pain they
              are purported to treat in the majority of persons prescribed them.

           b. Wire Fraud: The members of the Enterprise violated 18 U.S.C. §1343 by
              transmitting and/or receiving, or by causing to be transmitted and/or received,
              fraudulent materials by wire for the purpose of selling drugs, specifically opioids,
              that have little or no demonstrated efficacy for the pain they are purported to treat
              in the majority of persons prescribed them.

       216.    The mail and wire transmissions were made in furtherance of Defendants’

Scheme and common course of conduct designed to sell drugs that have little or no demonstrated

efficacy for chronic pain; increase the prescription rate for opioids; and popularize the

misunderstanding that the risk of addiction is low when using opioids.

       217.    The members of the Enterprise aided and abetted others in violating the law. To

achieve their common goals, the members of the Enterprise hid from Tarrant County and its

residents: (1) the fraudulent nature of Defendants’ marketing scheme; (2) the fraudulent nature of

statements made by Defendants and on behalf of Defendants regarding the efficacy of and risk of

addiction associated with Defendants’ opioids; and (3) the true nature of the relationship between

the members of the Enterprise.

       218.    Defendants and each member of the Enterprise, with knowledge and intent,

agreed to the overall objectives of the Scheme and participated in the common course of conduct.

Indeed, for the conspiracy to succeed, each of the members of the Enterprise and their co-

conspirators agreed to conceal their fraudulent scheme.

       219.    The members of the Enterprise knew, and intended that, Tarrant County and its




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residents would rely on the material misrepresentations and omissions made by them and suffer

damages and a result.

        220.   The pattern of racketeering activity described herein is currently ongoing and

open-ended, and threatens to continue indefinitely unless this Court enjoins the racketeering

activity.

        221.   As a result of Defendants’ racketeering activity, Tarrant County has been injured

in their business and/or property in multiple ways, including but not limited to increased health

care costs, increased human services costs, costs related to dealing with opioid related crimes and

emergencies, and other public safety costs.

        222.   Defendants’ violations of 18 U.S.C. §1962(c) and (d) have directly and

proximately caused injuries and damages to the County of Tarrant and the public who are

entitled to bring this action for three times its actual damages, as well as injunctive/equitable

relief, costs, and reasonable attorney’s fees pursuant to 18 U.S.C. §1964(c).

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully prays:

               a.       That the acts alleged herein be adjudged and decreed to be unlawful and
                        that the Court enter a judgment declaring them to be so;

               b.       That Defendants be enjoined from, directly or indirectly through KOLs,
                        Front Groups or other third parties, continuing to misrepresent the risks
                        and benefits of the use of opioids for chronic pain, and from continuing to
                        violate Texas law;

               c.       That Plaintiff recover all measures of damages, including punitive and
                        exemplary damages, allowable under the law, and that judgment be
                        entered against Defendants in favor of Plaintiff;

               d.       That Plaintiff recover restitution on behalf of Tarrant County consumers
                        who paid for opioids for chronic pain;

               e.       That Plaintiff recover the costs and expenses of suit, pre- and post-



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                      judgment interest, and reasonable attorneys’ fees as provided by law; and

             f.       That Defendants be ordered to abate the public nuisance that they created
                      in in violation of Texas common law.


Date: March 5, 2018

                                    Respectfully Submitted,

                                    THE LANIER LAW FIRM

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